THE FOX LAW CORPORATION, INC.
Steven R. Fox, California SBN 138808
srfox@foxlaw.com
17835 Ventura Blvd., Suite 306
Encino, CA 91316
(818) 774-3545; FAX (818) 774-3707


THE LAW OFFICES OF KEITH Y. BOYD
Keith Y. Boyd, OSB #760701
keith@boydlegal.net
724 S. Central Ave., Suite 106
Medford, OR 97501
(541) 973-2422; FAX (541) 973-2426

          Of Attorneys for Debtor in Possession



                         UNITED STATES BANKRUPTCY COURT

                            FOR THE DISTRICT OF OREGON

 In re:                                      Case No. 17-33893-tmb11

 Creekside Homes, Inc.,                      PLAN CONFIRMATION MEMO-
                                             RANDUM FOR CONFIRMATION
                       Debtor.               HEARING AND REQUEST THAT THE
                                             COURT APPROVE NON-MATERIAL
                                             MODIFICATION




          The Debtor, as Plan Proponent (“Proponent” or “Debtor”) proposed the

Original Plan of Reorganization as modified (docket no. 166) (the “Plan”).

          The Debtor believes the Plan meets the requirements of 11 U.S.C. §1129(a)

and should be approved. At least one impaired class has voted to accept the Plan

and the Plan meets the best interests of creditors test. The attached Memorandum


Plan Confirmation Memorandum For Confirmation Hearing And
Request That The Court Approve Non-Material Modification               Page 1 of 25




                     Case 17-33893-tmb11    Doc 169   Filed 06/04/18
addresses §1129's requirements.

      In addition, the Debtor has made one non-material change to the Plan by

copying over from the Disclosure Statement language concerning the LeGrady’s claim

and its payment. The change is non-material as it affects no other creditor and will

have no impact on feasibility of the Plan.

      Objections to the Plan are addressed in the Memorandum.

      WHEREFORE the Proponent requests that the Court:

      1.     Find that the Plan satisfies §1129 and other applicable sections of the

             U.S. Bankruptcy Code and confirm the Debtor’s proposed Plan.

      2.     Approve the Disclosure Statement on a final basis.

      3.     Direct the Debtor and creditors to carry out the terms of the Plan; and

      4.     Approve the non-material modification concerning the LeGradys’ claim.

DATED this 4th day of June, 2018.

                                       THE FOX LAW CORPORATION, INC.


                                       By:      /s/ Steven R. Fox
                                               Steven R. Fox, CSB #138808

                                       THE LAW OFFICES OF KEITH Y. BOYD


                                       By:      /s/ Keith Y. Boyd
                                                    Keith Y. Boyd, OSB #760701

                                               Of Attorneys for Debtor in Possession




Plan Confirmation Memorandum For Confirmation Hearing And
Request That The Court Approve Non-Material Modification                Page 2 of 25




                  Case 17-33893-tmb11        Doc 169   Filed 06/04/18
                                         Table of Contents


I.    The Plan Satisfies §1129(a)’s Requirements .............................................. 3
A.    §1129(a)(1); The Plan Complies With the Applicable
      Provisions of Title 11 .............................................................................. 3
B.    §1129(a)(2); The Proponent of the Plan Complies With
      the Applicable Provisions of Title 11 ........................................................ 6
C.    §1129(a)(3); The Plan Has Been Proposed in Good Faith and
      Not By Any Means Forbidden By Law ...................................................... 6
D.    §1129(a)(4); All Payments Requiring Review By the Court Have
      Been or Will Be Subject to Approval as Reasonable .................................. 7
E.    §1129(a)(5); The Proponents of the Plan Have Disclosed the
      Identities and Affiliations of Persons Participating in the Plan .................... 7
F.    §1129(a)(6); Approval of Regulated Charges .......................................... 7
G.    §1129(a)(7); Each Holder of a Claim or Interest of an Impaired
      Class Has Accepted the Plan or Will Receive Property of Value
      Not Less Than the Amount that Such Holder Would Receive or
      Retain if the Debtor's Assets Were Liquidated Under
      Chapter 7 of the Bankruptcy Code .......................................................... 7
H.    §1129(a)(8); Acceptance by Classes of Impaired Claims .......................... 8
I.    §1129(a)(9); The Plan Complies With the Required Treatment
      of Administrative and Priority Claims ....................................................... 8
J.    §1129(a)(10); Multiple Classes of Impaired Claims Have
      Accepted the Plan, Determined Without Including Any Acceptance
      of the Plan by an Insider ........................................................................ 8
K.    §1129(a)(11); The Plan Is Feasible .......................................................... 8
L.    §1129(a)(12); Requires the Payment of Filing Fees and Trustee's
      Fees Pursuant to Section 1930 of the Bankruptcy Code ........................... 10
M.    §1129(a)(13) to (a)15 ........................................................................... 10
N.    §1129(d): Avoidance of Taxes ............................................................... 10

Plan Confirmation Memorandum For Confirmation Hearing And
Request That The Court Approve Non-Material
                                       i Modification                                        Page i of 25




                     Case 17-33893-tmb11             Doc 169      Filed 06/04/18
II.    The Requirements to Cramdown Any Objecting Class is
       Satisfied. §1129(b) .............................................................................. 10
A.     Class 4's Treatment Satisfies §1129(b) ................................................... 10
B.     The New Value Contribution is Substantial and Meets the
       Requirements the Ninth Circuit Has Specified ......................................... 11
III.   Objections by Chen and Swift................................................................ 13
A.     The Objection to Confirmation by Sue Chen .......................................... 13
B.     Objection by Swift Financial .................................................................. 14
IV.    The Temporary Injunction is Permitted and Should Issue.......................... 15
A.     Ninth Circuit Authority........................................................................... 16
B.     Other Authority..................................................................................... 17
C.     Statutory Support for the Temporary Injunction ....................................... 19
D.     The Test to Issue a Temporary Injunction Post-Confirmation .................... 21
E.     Terms of the Temporary Injunction......................................................... 24
V.     Conclusion........................................................................................... 25



                                         Table of Authorities
U.S. Supreme Court


United States V. Energy Resources Co., Inc., 495 U.S. 545 (1990) .......................... 19
Katchen v. Landy, 382 U.S. 323, 327 (1966) .................................................. 20
United States National Bank v. Chase National Bank, 331 U.S. 28 (1947) ...... 20
Pepper v. Litton, 308 U.S. 295 (1939) ............................................................ 20
Wright v. Vinton Branch of the Mountain Trust Bank, 300 U.S. 440,
57 S.Ct. 556, 81 L.Ed. 736 (1937) .......................................................... 18, 20


Circuit Court and Bankruptcy Appellate Panel Authority


Solidus Networks, Inc. v. Excel Innovations, Inc. (In re Excel
Innovations, Inc.), 502 F.3d 1086, 1092 (9th Cir. 2007) ................................. 22

Plan Confirmation Memorandum For Confirmation Hearing And
Request That The Court Approve Non-Material
                                       ii Modification                                        Page ii of 25



                      Case 17-33893-tmb11             Doc 169       Filed 06/04/18
In re Sylmar Plaza, 314 F.3d 1070 (9th Cir. 2002) ............................................. 6
In re Ambanc La Mesa,115 F.3d 650 (9th Cir. 1997) ................................. 11,12
In re Lowenschuss, 67 F.3d 1394 (9th Cir. 1995) ............................... 16, 17, 18
Feld v. Zale Corp (In re Zale Corp.), 62 F.3d 746 (5th Cir. 1995) ........ 21, 22, 23
Steelcase Inc. v. Johnston (In re Johnston), 21 F.3d 323 (9th Cir.1994) ............... 4
In re Snyder, 967 F.2d 1126, 1131 (7th Cir. 1992) ........................................ 12
In re American Hardwoods, 885 F.2d 621 (9th Cir. 1989) .......15, 16, 17, 18, 19
Wells Fargo Bank, N.A. vs. Loop 76, LLC (In re Loop 76, LLC), 465 BR 525 (9th Cir.
BAP 2012) ................................................................................................. 4, 14
Computer Task Group vs. Brotby (In re Brotby), 303 B.R. 177
(9th Cir. BAP 2003) ......................................................................................... 9
In re Rohnert Park Auto Parts, Inc., 113 B.R. 610 (9th Cir. BAP 1990) ... 16, 17, 19


Bankruptcy Court Authority


In re Dan Haggerty’s International Products, Case no. 10-bk-11181-ER
(Bankr. C.D. Cal. 2011) ............................................................................................19
In re Linda Vista Cinemas, LLC, 442 B.R. 724 (Bankr. AZ 2010)
(rev’d Linda Vista Cinemas v. Bank of Arizona (In re Linda Vista Cinemas)
2011 U.S. Dist. LEXIS 52885 (AZ 2011) ................................................................... 19
In re Regatta Bay, LLC., 406 B.R. 875 (Bankr. Ariz 2009)
rev'd 2009 WL 5730501(D. Ariz. 2009) ............................................. 17, 18, 19
In re Lyondell Chemical Co., 402 BR. 571 (S.D.N.Y. 2009) ............................. 24
In re Seatco Inc., 257 B.R. 469, 476 (Bankr. N.D. Texas 2001) .................. 22, 24
Matter of Treasure Bay, 212 B.R. 520 (Bankr. S.D. Miss. 1997) .......................... 12
In re United Marine, Inc., 197 B.R. 942 (Bankr. S.D. Fla 1996) .......................... 3
In re Piece Goods Shops Co., L.P., 188 B.R. 778 (Bankr. M.D.N.C. 1995) .......... 3
In re Elmwood, Inc., 182 B.R. 845 (D. Nev. 1995) .......................................... 12
In re 500 Fifth Ave. Assocs., 148 B.R. 1010 (Bankr. S.D.N.Y. 1993) ............. 4, 14
In re U.S. Truck Co., 47 B.R. 932 (Bankr. E.D. Mich. 1985) ............................... 4
In re Nite Lite Inns, 17 Bankr. 367 (Bankr. S.D. Cal. 1982) ................................ 6

Plan Confirmation Memorandum For Confirmation Hearing And
Request That The Court Approve Non-Material
                                       iii Modification                                            Page iii of 25



                         Case 17-33893-tmb11              Doc 169        Filed 06/04/18
                MEMORANDUM OF POINTS AND AUTHORITIES
                   IN SUPPORT OF PLAN CONFIRMATION

      Section 1129(a) provides that the Court shall confirm a plan only if specific

requirements are met.

                                         I.

                   The Plan Satisfies §1129(a)’s Requirements.

A.    §1129(a)(1); The Plan Complies With the Applicable

      Provisions of Title 11.

      The substantive provisions of the Bankruptcy Code which are most relevant in

the context of §1129(a)(1) are found in §§1122, 1123, and 1125.

      1.    The Requirements of §1122(a) and (b) Are Satisfied.

      The Plan’s classification of secured and unsecured claims is reasonable.

      •     Administrative claims are classified separately from classified claims.

      •     Class 1 consists of the sole secured claim and is separately classified.

      •     Class 2 consists of deminimus unsecured claims of $500 or less. This

            classification is permissible. §1122(b); In re United Marine, Inc., 197

            B.R. 942, 945 (Bankr. S.D. Fla 1996); In re Piece Goods Shops Co.,

            L.P., 188 B.R. 778, 788-89 (Bankr. M.D.N.C. 1995)

      •     Class 3 consists of general unsecured claims.

      •     Class 4 contains general unsecured claims also holding claims against

            third parties including the Debtor’s principals. Separate classification is

            reasonable because this type of claim is dissimilar to that of a vendor,

            an unsecured lender or other unsecured creditor who does not hold

            claims against third parties such as the Debtor’s officers and principals.

                   Separate classification is reasonable because the claims in this

Plan Confirmation Memorandum For Confirmation Hearing And
Request That The Court Approve Non-Material
                                       3 Modification                    Page 3 of 25
                  Case 17-33893-tmb11 Doc 169 Filed 06/04/18
             class are dissimilar to those in Class 3. Steelcase Inc. v. Johnston (In re

             Johnston), 21 F.3d 323, 327 (9th Cir.1994); Wells Fargo Bank, N.A. vs.

             Loop 76, LLC (In re Loop 76, LLC), 465 BR 525 (9th Cir. BAP 2012)(court

             may consider a guaranty as          a factor to determine if claims are

             substantially similar); In re 500 Fifth Ave. Assocs., 148 B.R. 1010, 1018

             (Bankr. S.D.N.Y. 1993) (considerable discretion to classify claims)

                    The separate classification of Class 4 claims was not proposed in

             order to manipulate the voting. Class members have either obtained a

             judgment (Knight Capital) or an arbitrator’s award (Swift Financial) or

             have the right to file suit (LoanMe) against the principals, the Burtons.

             Unlike class 3, these claimants could lien assets of the Burtons.

      •      Class 5 consists solely of equity. They retain their interest in exchange

             for their new value contribution.

      The Plan treats unsecured administrative claims as unclassified claims to be

paid in full on the Effective Date or paid following allowance of such claims.

      The classification of claims is proposed in good faith. Debtor did not divide the

claims into multiple classes to solely create a consenting class to permit confirmation.

E.g., In re U.S. Truck Co., 47 B.R. 932, 939 (Bankr. E.D. Mich. 1985).

      2.     The Requirements of Section 1123 Have Been Satisfied.

      • (a)(1). The Plan classifies claims other than administrative priority claims and

      priority tax claims.   Administrative claims and priority tax claims are not

      classified while all other claims are classified.

      • (a)(2). The Plan identifies any class of unimpaired claims or interests.

      • (a)(3). The Plan specifies the treatment of any class of claims or interests

      impaired under the Plan. Classes 1 to 4 are impaired.

Plan Confirmation Memorandum For Confirmation Hearing And
Request That The Court Approve Non-Material
                                       4 Modification                     Page 4 of 25
                  Case 17-33893-tmb11 Doc 169 Filed 06/04/18
      • (a)(4). The Plan treats each claim or interest in a particular class the same.

      • (a)(5). The Plan provides adequate means for its implementation.

             •      The Debtor shall retain all estate property. §1123(a)(5)(A).

             •      Liens are being modified.

             •      Defaults are being waived. §1123(a)(5)(G)

             •      Funding Circle’s note’s maturity date is being modified.

                    §1123(a)(5)(H)

             •      New securities of the Debtor will be issued following plan

                    confirmation. §1123(a)(5)(J)

      • (a)(6). The Plan provides for the inclusion in the Debtor’s charter of a

      provision prohibiting the issuance of nonvoting equity securities. §1123(a)(6).

      • (a)(7). The Plan contains provisions which are consistent with creditors’

interest and the public interest as to the manner of selecting new officers or directors.

      • (a)(8). This provision applies only to individual debtors.

      3.     The Requirements of Section 1125 Have Been Satisfied

      Section 1125(a) and (b) specify when an acceptance or a rejection may be

solicited and requires that a Disclosure Statement contain adequate information.

      The Debtor filed its Disclosure Statement (docket no. 151), the Court entered

an “Order Conditionally Approving Disclosure Statement and Fixing Time for Filing

Acceptances or Rejections of Plan” (docket no. 157)

      The Debtor did not solicit the acceptances or rejections before authorized to

do so. Appropriate materials were distributed to all parties in interest at that time.

      The Certificate of Service filed on May 14, 2018 (docket no 159) reflects service


Plan Confirmation Memorandum For Confirmation Hearing And
Request That The Court Approve Non-Material
                                       5 Modification                      Page 5 of 25


                   Case 17-33893-tmb11      Doc 169    Filed 06/04/18
of the Disclosure Statement Order. The “Notice of Hearing on Confirmation of

Proposed Plan; Notice of Last Day to Cast Ballot and to Object to Plan Confirmation”

(docket no. 160) avers that the correct materials were sent to parties as required by

the terms of the Disclosure Statement Order.

B.    §1129(a)(2); The Proponent of the Plan Complies With the Applicable

      Provisions of Title 11.

      The relevant consideration here is whether the Debtor complied with §1125

requiring full disclosure prior to solicitation of acceptances. This is discussed above.

C.    §1129(a)(3); The Plan Has Been Proposed in Good Faith and Not By Any

      Means Forbidden By Law.

      A plan is proposed with the necessary good faith where the plan achieves a

result which is consistent with the Bankruptcy Code’s objectives and purposes. In re

Sylmar Plaza, 314 F.3d 1070, 1074-75 (9th Cir. 2002).

      One case explained the good faith requirement as follows:

      Essentially, a reorganization plan is proposed in good faith when there is a
      reasonable likelihood that the plan will achieve a result consistent with the
      objectives and purposes of the Bankruptcy Code.... The primary purpose of
      the reorganization chapters of both the Act and the Code has been to promote
      restructuring of debt and the preservation of economic units rather than a
      dismantling of the estate."

In re Nite Lite Inns, 17 Bankr. 367, 370 (Bankr. S.D. Cal. 1982).

      No objecting creditor has suggested the Plan was not proposed in good faith.

      Good faith is demonstrated by the following:

      •      Unsecured creditors are being paid a significant dividend.

      •      Classes 1, 2 and 3 voted to accept the Plan.



Plan Confirmation Memorandum For Confirmation Hearing And
Request That The Court Approve Non-Material
                                       6 Modification                     Page 6 of 25
                  Case 17-33893-tmb11 Doc 169 Filed 06/04/18
      •      Class 4 contains three members. Two voted to accept, satisfying the ½

             voting requirement. The 2/3 requirement was close to being satisfied.

      •      One member of Class 4, Knight Capital, provided a declaration

             supporting plan confirmation. Exhibit “H”

      •      The Plan preserves the property of the estate as one economic unit and

             does not propose a liquidation.

      D.     §1129(a)(4); All Payments Requiring Review By the Court Have Been or

             Will Be Subject to Approval as Reasonable.

      All payments in this case requiring approval by this Court are and will be

subject to approval by this Court through the filing of professionals’ fee applications.

E.    §1129(a)(5); The Proponents of the Plan Have Disclosed the Identities and

      Affiliations of Persons Participating in the Plan.

             The Disclosure Statement provides this disclosure.

F.    §1129(a)(6); Approval of Regulated Charges.

      Section 1129(a)(6) is inapplicable to this Debtor.

G.    §1129(a)(7); Each Holder of a Claim or Interest of an Impaired Class Has
      Accepted the Plan or Will Receive Property of Value Not Less Than the Amount
      that Such Holder Would Receive or Retain if the Debtor's Assets Were
      Liquidated Under Chapter 7 of the Bankruptcy Code.

      Creditors must accept the Plan or receive or retain under the Plan property of

a value, as of the Plan’s effective date not less than the amount that such holder

would so receive or retain if the Debtor were liquidated under Chapter 7 of the title.

      Going to the first element, acceptance of the Plan:

      •      Classes 1 - 3 accepted the Plan thus satisfying §1129(a)(7)(A)(I).

      •      Class 4 voted to reject the Plan but the Debtor satisfies §1129(a)(7)(A)(ii)

             because in the event of liquidation, members of Class 4 would receive


Plan Confirmation Memorandum For Confirmation Hearing And
Request That The Court Approve Non-Material
                                       7 Modification                      Page 7 of 25
                  Case 17-33893-tmb11 Doc 169 Filed 06/04/18
             no distribution. (Exhibit “B” to the Disclosure Statement)

      No creditor objected to Plan confirmation arguing §1129(a)(7)(A)(ii) was not

satisfied. Swift notes the value of assets in Schedule B but that Schedule included

work in progress which would have no value unless completed.

H.    §1129(a)(8); Acceptance by Classes of Impaired Claims.

      Each impaired class must vote to accept the plan or each class is not impaired

under the plan. If §1129(a)(8) is not satisfied, then the proponent may resort to

§1129(b).    Classes 1 to 4 are impaired. Classes 1 to 3 voted to accept. Class 4

voted to reject. This provision is not satisfied.

      Also, Class 4 member LoanMe cast two ballots, the first accepting, the second,

and later in time ballot, rejecting. LoanMe did not file a motion seeking to change its

vote from accepting to rejecting and it offered no reason for the later rejecting ballot.

I.    §1129(a)(9); The Plan Complies With the Required Treatment of Administrative
      and Priority Claims.

      Any tax claims will be paid in full within five years of the date of filing of the

bankruptcy petition. Professionals will be paid following the approval of applications

for compensation and, with the agreement of such professionals, over time.

J.    §1129(a)(10); Multiple Classes of Impaired Claims Have Accepted the Plan,
      Determined Without Including Any Acceptance of the Plan by an Insider.

       Impaired classes 1 to 3 voted to accept the plan. Class 4 did not.

K.    §1129(a)(11); The Plan Is Feasible.

      Section 1129(a)(11) requires the Court to find that:

      In addressing feasibility, the 9th Circuit Bankruptcy Appellate Panel stated:

      To demonstrate that a plan is feasible, a debtor need only show a reasonable
      probability of success. Acequia, 787 F.2d at 1364.           The Code does not
      require the debtor to prove that success is inevitable, In re WCI Cable, Inc.,


Plan Confirmation Memorandum For Confirmation Hearing And
Request That The Court Approve Non-Material
                                       8 Modification                      Page 8 of 25
                  Case 17-33893-tmb11 Doc 169 Filed 06/04/18
      282 B.R. 457, 486 (Bankr.D.Or.2002), and a relatively low threshold of proof
      will satisfy § 1129(a)(11), In re Sagewood Manor Assocs. Ltd., 223 B.R. 756,
      762 (Bankr.D.Nev.1998), so long as adequate evidence supports a finding of
      feasibility. See In re Pizza of Hawaii, Inc., 761 F.2d at 1382 (reversing where
      feasibility determination excluded consideration of major claim).

Computer Task Group vs. Brotby (In re Brotby), 303 B.R. 177, 191-192 (9th Cir. BAP

2003).

      All a debtor needs to show is a reasonable probability of success, not a

guaranty. During the chapter 11 case, the Debtor has moved away from the

considerable prepetition accrued losses, to smaller accrued losses earlier in the

chapter 11 case and then to positive net income later in the chapter 11 case.

      No objector creditor argues the Plan is infeasible.

      Attached as exhibits here are copies of the following reports:

 Exhibit “I”: An accrual based P&L          Exhibit “N”: A work in progress report.
 Statement.
 Exhibit “J”: A cash based P&L              Exhibit “O”: A bid log.
 Statement.
 Exhibit “K”: A payables report.            Exhibit “P”: Actual to budget report.
 Exhibit “L”: A receivables report.         Exhibit “Q” Closing Statement on
                                            duplex unit and wire instructions from
                                            Andrew Burton to Boyd Law Offices
 Exhibit “M”: A balance sheet.


      The exhibits reflect (1) continued work at appropriate margins, (2) continued

bidding for new work, (3) the Debtor incurring losses early in the case but since then

showing consistent progress and positive net cash flow and (4) the new value

contribution of $65,000 in Mr. Boyd’s account. The actual to budget report reflects

that though the Debtor did not enjoy the projected gross revenues, the Debtor cuts its


Plan Confirmation Memorandum For Confirmation Hearing And
Request That The Court Approve Non-Material
                                       9 Modification                     Page 9 of 25
                  Case 17-33893-tmb11 Doc 169 Filed 06/04/18
COGS and expenses sufficiently that the Debtor’s net income closely matched the

projected net income.

      The Plan, if confirmed, is not likely to be followed by a liquidation or a need

for further financial reorganization.

L.    §1129(a)(12); Requires the Payment of Filing Fees and Trustee's Fees Pursuant

      to Section 1930 of the Bankruptcy Code.

      The Debtor is current in payments to the United States Trustee and will have

paid any then outstanding fees as of the Effective Date.

M.    §1129(a)(13) to (a)(15)

      These provisions are inapplicable to the Debtor as it does not offer retirement

benefits, it has no domestic support obligations, it is not an individual debtor.

N.    § 1129(d): Avoidance of Taxes.

      No governmental entity has requested that the Plan not be confirmed or has

suggested any avoidance.

                                          II.

                  The Requirements to Cramdown Any Objecting

                           Class Are Satisfied. §1129(b)

A.    Class 4's Treatment Satisfies §1129(b).

      Section 1129(b)(2) allows confirmation, despite rejection of a plan by one or

more classes, if the plan "does not discriminate unfairly" and is "fair and equitable"

with respect to the impaired class of claims rejecting the plan. §1129(B)

      1.     Class 4 (General Unsecured Creditors Holding Guaranty Claims).

      Class 4's treatment satisfies the standard.


Plan Confirmation Memorandum For Confirmation Hearing And
Request That The Court Approve Non-Material
                                       10 Modification                  Page 10 of 25


                  Case 17-33893-tmb11      Doc 169    Filed 06/04/18
      •      In liquidation, unsecured creditors would receive nothing.

      •      The Plan proposes to pay a 20% distribution over time.

      •      Each member of this class, following the time of the temporary

             injunction, will have an opportunity to exercise its state law remedies.

             Each member’s guaranty includes the payment of principal, interest and

             attorneys’ fees so the only prejudice to the member will be the delay in

             time. The members of this class have likely declared defaults under the

             guaranties so any transfers of assets by the Burtons could be considered

             a fraudulent conveyance as to the class members.

B.    The New Value Contribution is Substantial and Meets the Requirements the

      Ninth Circuit Has Specified.

      The Burtons propose to infuse $65,000 to retain their interest.

      The monies will pay administrative expenses.          Without the new value

contribution the Debtor would be unable to meet its obligations, pay administrative

claims and pay other Plan obligations.

      The new value corollary has a five part test. The monies must be (1) new, (2)

substantial, (3) in money or money's worth, (4) necessary for a successful

reorganization, and (5) reasonably equivalent to the value or interest received. In re

Ambanc La Mesa,115 F.3d 650 (9th Cir. 1997) at 654.

      As to the first element, the monies are new.

      As to the second element, the contribution must be a present contribution and

must be freely tradable. In re Ambanc La Mesa at 655 (internal citation omitted) The

$65,000 is held in Mr. Boyd’s account and is available for immediate distribution.

      The contribution should be more than a "gratuitous, token cash infusion

Plan Confirmation Memorandum For Confirmation Hearing And
Request That The Court Approve Non-Material
                                       11 Modification                  Page 11 of 25

                  Case 17-33893-tmb11     Doc 169    Filed 06/04/18
proposed primarily to buy cheap financing." In re Snyder, 967 F.2d 1126, 1131 (7th

Cir. 1992). The Ambanc court looked at substantiality comparing the contribution to:

(1) the total unsecured claims; (2) the claims being discharged; or (3) the dividend to

be paid on unsecured claims due to the contribution. Ambanc at 655.

      •       Reconciled claims in Class 3 amount to $1,029,797;

      •       Reconciled claims in Class 4 amount to $288,791;

      •       Total of Class 3 and 4: $1,318,588. (Disclosure Statement, Exhibit “E”)

      •       The new value contribution is just under 5% of total unsecured claims.

      Substantial claims are being discharged but the contribution permits a

significant distribution to these classes.

      In Ambanc, a $32,000 contribution was not substantial as it was less than 0.5%

of $4 million total of general unsecured debt. Id. 655. In In re Elmwood, Inc., 182

B.R. 845 (D. Nev. 1995), a contribution of less than 4% was substantial.

      As to the third element, the new value is in the form of monies.

      As to the fourth element, the contribution helps to ensure feasibility by paying

administrative claims and professionals. This makes it more likely the general

unsecured creditors will be paid.

      As to the fifth element, this requirement seeks to prevent an insider from

obtaining a debtor through self dealing and ensuring the new value is fair and

equitable to the creditors. Matter of Treasure Bay, 212 B.R. 520, 545 (Bankr. S.D.

Miss. 1997)    This Debtor is a small closely held corporation whose future depends

on Mr. Burton’s efforts. There is no market for the equity in this kind of a debtor. The

Debtor’s value relies on Mr. Burton being able to work hard for five years.


Plan Confirmation Memorandum For Confirmation Hearing And
Request That The Court Approve Non-Material
                                       12 Modification                   Page 12 of 25



                   Case 17-33893-tmb11       Doc 169   Filed 06/04/18
      Here the value of the assets on hand at liquidation is $72,753 (Disclosure

Statement at Exhibit “B”). The new value contribution, $65,000 is roughly equivalent

to the value of the Debtor’s assets at liquidation.

      Exclusivity Period. The exclusivity period expired on or about April 16, 2018.

§1121(c). This provision does not grant 60 more days exclusivity to confirm a plan.

                                           III.

                            Objections by Chen and Swift.

A.    The Objection to Confirmation by Sue Chen.

      Sue Chen engaged the Debtor to build a custom home. She let her insurance

lapse. A fire occurred causing major damage. The Debtor cut its prices and did its

best to assist her. These steps cost the Debtor dearly and her fire was one of the

precipitating causes of this chapter 11 case.

      Chen did not cast a ballot.

      Her objections are twofold.

      1.     Absolute Priority Rule.

      First, she states that equity retains its interest while superior claims are unpaid

in full. However, the Burtons are contributing new value, $65,000. The contribution

meets the five part test the Ninth Circuit has enunciated for determining if the

contribution qualifies as new value.

      2.     Treatment of Classes 3 and 4.

      Chen states that the differing treatment, 10% of Class 3 claims and 20% of

Class 4 claims, unfairly discriminates between substantially similar creditors.

      However, the members of these two classes are not substantially similar.

Instead, they are substantially dissimilar. The facts explaining the dissimilar nature of

Plan Confirmation Memorandum For Confirmation Hearing And
Request That The Court Approve Non-Material
                                       13 Modification                    Page 13 of 25


                   Case 17-33893-tmb11      Doc 169    Filed 06/04/18
the claimants in these two classes is discussed above. Class 4 claimants hold

guaranties. One took a judgment; one obtained an arbitrator’s award. Class 3

members have none of these legal rights. The classification was not meant to

manipulate the voting. Wells Fargo Bank, N.A. vs. Loop 76, LLC (In re Loop 76,

LLC), 465 BR 525 (9th Cir. BAP 2012)(court may consider a guaranty as a factor to

determine if claims are substantially similar); In re 500 Fifth Ave. Assocs., 148 B.R.

1010, 1018 (Bankr. S.D.N.Y. 1993) (“proponent ... has considerable discretion to

classify claims and interests according to the facts and circumstances of the case”)

        Those Class 3 creditors voting, voted almost unanimously to accept the

different treatment. Also, based on the liquidation analysis the payment Class 3

members would be paid is substantial compared to a 0% distribution in chapter 7

case.

B.      Objection by Swift Financial.

        Swift’s two objections concern the temporary injunction and Swift’s assertion

that its claim is secured and that it should not be required to release its lien.

        1.    The Temporary Injunction.

        This objection is discussed in Section IV below.

        2.    Swift’s Claim is Unsecured.

        Swift asserts its claim is a secured claim. It states that its loan documents

provide that the Debtor granted Swift a security interest.

        Swift ignores the valuation process. §506(a).

        The value of the Debtor’s assets at liquidation would be insufficient for Swift’s

security interest to attach. (Liquidation analysis value $72,753 (Disclosure Statement,

Exhibit “B”) - amount of senior lender’s claim $77,706.57.)

Plan Confirmation Memorandum For Confirmation Hearing And
Request That The Court Approve Non-Material
                                       14 Modification                    Page 14 of 25


                    Case 17-33893-tmb11     Doc 169     Filed 06/04/18
       On a going concern basis, the Debtor’s value is what a purchaser with

knowledge of the facts would pay for the Debtor. The relevant facts are the following:

       •      Mr. Burton founded the Debtor, brings in the work, oversees marketing

              and prepares job estimates with help from others.

       •      The Debtor will pay all projected disposable income into its Plan.

       •      The Debtor’s hard assets have relatively little value other than monies

              ($15,822), receivables ($22,746) and one vehicle ($25,500).

       4.     The one considerable asset listed in the Debtor’s Schedule B is the value

              in work in progress - if completed. Work in progress has value only if

              the work is done. All of the net income is projected to go to creditors.

       It is an easy conclusion that a purchaser would at most pay the liquidation

value of the assets. No reasonable purchaser will purchase a business which is

projected to generate no net income (for the purchaser) for a period of 5 years.

       Plan provision 5.06 provides that Swift shall release its financing statement

following the Effective Date. Provided that the Court finds that Swift’s interest does not

attach to any interest of the Debtor, then this relief, release of the security interest, is

appropriate and permitted under the Code and the Rules.

                                            IV.

              The Temporary Injunction is Permitted and Should Issue.

       Funding Circle, Knight and LoanMe, voted to accept the Plan and willingly

agreed to the issuance of the temporary injunction. Swift voted to reject the Plan

and objects to the temporary injunction.

       Bankruptcy courts have the authority under §§1123(b), 1141, 524(e) and

105 to issue the temporary injunction sought here.

Plan Confirmation Memorandum For Confirmation Hearing And
Request That The Court Approve Non-Material
                                       15 Modification                       Page 15 of 25


                   Case 17-33893-tmb11       Doc 169     Filed 06/04/18
A.    Ninth Circuit Authority.

      Two Ninth Circuit cases, In re American Hardwoods, 885 F.2d 621 (9th Cir.

1989) and In re Lowenschuss, 67 F.3d 1394 (9th Cir. 1995), do not prohibit this

Court from issuing a temporary injunction.

      In American Hardwoods, the debtor sought a permanent injunction

restraining a creditor from pursuing the guarantor. The Ninth Circuit phrased the

issue before it narrowly and precisely: "This appeal presents a narrow issue of first

impression in our circuit: does the bankruptcy court have jurisdiction and power to

enjoin permanently, beyond confirmation of a reorganization plan, a creditor from

enforcing a state court judgment against nondebtors " (Id. at 623; emphasis

added) The Ninth Circuit, relying on §524(e), held the bankruptcy court could not

discharge the liabilities of a non-debtor. Id. at 625-626) American Hardwood did

not address a post-confirmation temporary injunction.

      Lowenschuss, is inapplicable because there the debtor sought discharges for

non-debtors. No such request is made here.

      In re Rohnert Park Auto Parts, Inc., 113 B.R. 610 (9th Cir. BAP 1990) is also

distinguishable because of some unique facts. There (unlike here) a creditor

holding a very large claim did not file a proof of claim and would receive no

distribution under the plan. Given this, the Panel concluded "...it would be

inequitable to hold that a creditor whose claim is held time barred, and who is

unable to benefit from the Plan, to be bound by a provision of the Plan enjoining

pursuit of a claim against guarantors of the debtor." Rohnert at 616. The Panel

acted equitably based on the unique and sad facts before it. Here Swift filed a

timely claim and will be receiving monies through the Plan. Here creditors will be

Plan Confirmation Memorandum For Confirmation Hearing And
Request That The Court Approve Non-Material
                                       16 Modification                  Page 16 of 25


                  Case 17-33893-tmb11     Doc 169    Filed 06/04/18
paid a dividend, more than they could receive in a liquidation. Also, Mr. Burton is

offering new value. Rohnert is factually different and not binding on this Court.

      Unlike Rohnert, where the plan apparently enjoined collection of any debts

without any other limits on the length of the injunction, here creditors can move to

terminate the injunction. (Disclosure Statement, §10.03.8, pg. 22)

B.    Other Authority.

      There is other authority in the Ninth Circuit approving an injunction such as

the one proposed here. Whether a temporary injunction can be issued was

addressed by Judge Haines in In re Regatta Bay, LLC., 406 B.R. 875 (Bankr. Ariz

2009) rev'd 2009 WL 5730501(D. Ariz. 2009). In Regatta, a creditor obtained a

judgment for $6 million against the debtor and its principals. The debtor filed a

chapter 11 petition and confirmed a plan providing for full payment to its

creditors. (Id. at 877) The plan provided a senior mortgage against the debtor's

property would be paid in full within 1 and ½ years following plan confirmation.

The judgment creditor's judgment would then be satisfied in full with interest at the

statutory rate in the next 2 and ½ years. Then other creditors would be paid. The

co-debtors agreed to contribute new value. The plan provided the judgment

creditor was enjoined from attempting to satisfy its judgment from the principals or

their property until the earlier of (1) the payment of all plan payments, (2) the case

was converted or dismissed or (3) there was a default under the plan.

      In the context of considering a motion for stay pending appeal, the court

noted Ninth Circuit authority does not prohibit a temporary injunction which delays

a creditor's efforts to satisfy a claim from a co-debtor. (Id. at 878) The bankruptcy

Plan Confirmation Memorandum For Confirmation Hearing And
Request That The Court Approve Non-Material
                                       17 Modification                  Page 17 of 25




                  Case 17-33893-tmb11      Doc 169   Filed 06/04/18
court distinguished American Hardwoods, Lowenschuss and Rohnert. The lower

court found authority to issue the post-confirmation injunction in §1141(a).

      The Regatta Bay court looked to U.S. Supreme Court precedent holding that

a deferment of a right to collect a creditor may have is not the same as denying a

collection right. The bankruptcy court stated:

      The plan term at issue here merely delays the creditor's enforcement of its
      rights against Wright and Keesling until the earlier of full consummation of
      the plan (including full payment of the creditor, with interest) or a default
      under the plan or dismissal or conversion of the case. For the creditor's
      argument based on American Hardwoods and Lowenschuss to have any
      merit, the essential (but unstated) step in the creditor's argument is to equate
      that temporary delay in enforcement to either a discharge or a release, i.e.,
      to a complete denial of the creditor's rights against Wright and Keesling. But
      it has long been fundamental, not only to bankruptcy law but also to
      constitutional law and even the structure of our judiciary, that a mere delay
      in the enforceability of creditors' remedies is not equivalent to a denial or a
      "taking" of their rights.


Regatta at 879- 880 citing Wright v. Vinton Branch of the Mountain Trust Bank,

300 U.S. 440, 57 S.Ct. 556, 81 L.Ed. 736 (1937)(reversing prior holding that a

five year stay of a lien holder's right to foreclose on real property was an

unconstitutional taking and ruling that a 3 year delay was not). Given the

Supreme Court's ruling reversing its prior ruling that a five year stay was an

unconstitutional taking, it is no leap to conclude that the temporary injunction’s

five year term is constitutionally permissible.

      On appeal, the Arizona district court reversed the lower court, finding the

lower court’s power to issue the injunction was based on §105 and was trumped

Plan Confirmation Memorandum For Confirmation Hearing And
Request That The Court Approve Non-Material
                                       18 Modification                   Page 18 of 25


                   Case 17-33893-tmb11      Doc 169   Filed 06/04/18
by §524(e). The district court did not engage in the reasoned analysis the

bankruptcy court undertook. The district court applied an incorrect analysis of

American Hardwoods, Rohnert and other cases to conclude Judge Haines'

reasoning was flawed. The district court did not consider the significant factual

differences between Rohnert and Regatta (e.g., the new value contribution and full

payment to the judgment creditor, dissolution of the injunction in the event of a

default, and the scope of which creditors would be restrained in Regatta) nor did

the district court consider the takings issue Judge Haines discussed.

      Other case authority includes In re Dan Haggerty’s International Products,

Case no. 10-bk-11181-ER, (Bankr. C.D. Cal. 2011). A copy of the court’s

unpublished memorandum is attached here as Exhibit “R.”

      See In re Linda Vista Cinemas, LLC, 442 B.R. 724 (Bankr. AZ 2010) (rev’d

Linda Vista Cinemas v. Bank of Arizona (In re Linda Vista Cinemas), 2011 U.S.

Dist. LEXIS 52885 (AZ 2011)

C.    Statutory Support for the Temporary Injunction.

      Authority for the temporary injunction is found in §§105 and 1123(b)(6).

The High court, in United States V. Energy Resources Co., Inc., 495 U.S. 545

(1990) offered some guidance construing §105(a) and §1123(b)(6) (then

§1123(b)(5)). The plan provided that the Internal Revenue Service would be

required to apply payments made to it under the plan first to trust fund obligations.

The I.R.S. contended the debtor could not direct how payments were to be treated.

In response, the High Court spoke to the broad equitable authority bankruptcy

courts have to fashion plans not inconsistent with the Bankruptcy Code under


Plan Confirmation Memorandum For Confirmation Hearing And
Request That The Court Approve Non-Material
                                       19 Modification                  Page 19 of 25



                  Case 17-33893-tmb11     Doc 169    Filed 06/04/18
§1123(b).

      The Code does not explicitly authorize the bankruptcy courts to approve

plans designating tax payments as either trust fund or non-trust fund. The Code,

however, grants the bankruptcy courts residual authority to approve reorganization

plans including "any ... appropriate provision not inconsistent with the applicable

provisions of this title." 11 U.S.C. § 1123(b)(5). The Code also contains §105(a).

These statutory directives are consistent with the traditional understanding that

bankruptcy courts, as courts of equity, have broad authority to modify

creditor-debtor relationships. See Pepper v. Litton, 308 U.S. 295, 303-304 (1939);

United States National Bank v. Chase National Bank, 331 U.S. 28, 36, (1947);

Katchen v. Landy, 382 U.S. 323, 327 (1966).

      A bankruptcy court’s order confirming a plan must have meaning. If a

creditor can go after a third party guarantor, take the guarantor’s assets and put

the company out of business (because the principal has to focus on protecting his

or her family and future), then the court’s order has no meaning.

      At the same time, the temporary injunction recognizes the right of creditors

to collect from a third party (such as the principal) but only after the rights of all

creditors under the plan have been satisfied. A collection action against a

guarantor is, at a minimum, related to the chapter 11 case giving the bankruptcy

court jurisdiction to issue the temporary injunction. This balance does not offend

the constitution (Wright vs. Vinton Branch), does not offend §524(e) (no release for

a third party) but upholds the bankruptcy court's authority and orders and also

protects the interests of other creditors not holding claims against third parties.

Plan Confirmation Memorandum For Confirmation Hearing And
Request That The Court Approve Non-Material
                                       20 Modification                     Page 20 of 25




                   Case 17-33893-tmb11      Doc 169    Filed 06/04/18
      Section 524(e)’s bar is not offended by the temporary injunction. It merely

provides that a discharge of a debtor does not affect the liability of any other entity

for such debt. It does not state a bankruptcy court cannot delay a creditor from

pursuing a third party on a liability. Given prior U.S. Supreme Court rulings,

§524(e) cannot.

      Section 1141 discharges a debtor from prepetition claims. A creditor

seeking to enforce payment of discharged claims against a principal effectively

runs around §1141 and frustrates the order confirming the plan.

      Words matter. The language in §524(e) is permissive.

      The language in §524(e) (“does not”) is permissive using the word "does"

instead of "shall" or "will". In contrast, §1129's language is mandatory. Section

524(e) does not expressly limit the ability of a bankruptcy court to delay

enforcement of a claim against a third party; it says the liability of a third party

cannot be discharged by a debtor's discharge. See Airadigm Communications vs.

FCC (In re Airadigm Communications), 519 F.3rd 640 (7th Cir. 2008).

D.    The Test to Issue a Temporary Injunction Post-Confirmation.

      The Debtor is unaware of binding authority in the Ninth Circuit enunciating

a standard under which a temporary injunction may be issued. In Feld v. Zale

Corp (In re Zale Corp.), 62 F.3d 746 (5th Cir. 1995), the Fifth Circuit enunciated

a two part test to determine if permitting a temporary injunction post-confirmation

was permissible to assist the reorganization but in a manner not to effectively

constitute a permanent injunction. The circumstances are either (1) an identity of

interest between the debtor and the third party that is so close that the collection

Plan Confirmation Memorandum For Confirmation Hearing And
Request That The Court Approve Non-Material
                                       21 Modification                    Page 21 of 25




                   Case 17-33893-tmb11      Doc 169    Filed 06/04/18
action effectively is a suit against the debtor and (2) when the collection action will

adversely impact the debtor's ability to perform under its plan and reorganize. The

Zale court noted that an injunction may be issued if either of these two

circumstances are present. Zale at 761. Facts relevant to each of these

circumstances is discussed below.

      If the test is met, then the bankruptcy court considers the traditional four part

test for issuance of an injunction. In re Seatco Inc., 257 B.R. 469, 476 (Bankr.

N.D. Texas 2001); Solidus Networks, Inc. v. Excel Innovations, Inc. (In re Excel

Innovations, Inc.), 502 F.3d 1086, 1092 (9th Cir. 2007), cert. denied, 553 U.S.

1017 (2008) The Seatco court stated the four part test as follows:

      The four prerequisites to the issuance of such an injunction are: (1) a
      substantial likelihood that the movant will prevail on the merits; (2) a
      substantial threat that the movant will suffer irreparable injury if the
      injunction is not granted; (3) that the threatened injury to the movant
      outweighs the threatened harm an injunction may cause to the party
      opposing the injunction; and (4) that the granting of the injunction will not
      disserve the public interest.


Id. at 477.

      Facts exist here which permit this Court to issue a temporary injunction.

      The Burtons are the Debtor's principals. They are a young couple with

young children. Their assets include (1) the stock in the Debtor, (2) raw land with

equity of $70,000, (3) one half of a duplex with perhaps $150,000 in equity

before the homestead exemption. These assets will appreciate and become more


Plan Confirmation Memorandum For Confirmation Hearing And
Request That The Court Approve Non-Material
                                       22 Modification                   Page 22 of 25




                  Case 17-33893-tmb11      Doc 169    Filed 06/04/18
valuable. They lack retirement savings and other substantial assets. The income

from the Debtor is barely sufficient to pay their bills and they lack the money to

defend against Swift and other creditors. Their financial future is tied to the

Debtor’s success. Their income is consumed by their monthly bills and expenses.

      Mr. Burton’s roles with the Debtor are essential. He oversees all

administrative functions, is the face of the company to the world, handles all sales,

marketing and does the estimating. A creditor could take a judgment, against

them and foreclose on their stock in the Debtor. The creditor could also garnish

their wages leaving them less incentive to work. Foreclosing on their two

remaining properties would prompt them to leave the Debtor as they would need

to find new housing and they would need to put their family first. They would be

better off being employees with limits on garnishments.

       No one at the Debtor has Mr. Burton’s abilities to manage the business

operation. Mr. Burton is essential to the successful implementation of the Debtor's

proposed Plan.

      Swift and Knight have aggressively pursued their interests in the chapter 11

case and in the state court actions.

      The two circumstances the Fifth Circuit enunciated in Zale are demonstrated

here. It is appropriate to issue a temporary injunction but subject to the Debtor

meeting the traditional 4 part test.

      The Traditional Four Part Test is Also Met.

      Here success on the merits refers to the likelihood the plan will be

confirmed. The Plan is confirmable.

Plan Confirmation Memorandum For Confirmation Hearing And
Request That The Court Approve Non-Material
                                       23 Modification                   Page 23 of 25




                  Case 17-33893-tmb11      Doc 169    Filed 06/04/18
      •      With the exception of Swift and one other creditor holding a smaller

             claim, all creditors voted to accept the Plan.

      •      The Debtor is cash flow positive.

      •      The projections of future income and expenses are based on the

             Debtor's post-petition performance and are likely to be met.

      •      At liquidation, the unsecured creditors would receive nothing.

      The first element, likelihood of success on the merits, is met.

      As to the second element, if the temporary injunction is not issued and a

creditor holding a claim against the Debtor and the Burtons pursues its rights

against the Burtons, then there would be a substantial threat to the Debtor's ability

to make plan payments and to reorganize. This element is satisfied.

      As to the third element, while a creditor may assert that it is entitled to

pursue guarantors during the plan term, when that entitlement is measured

against the harm to the Debtor and the creditor body, the one creditor's individual

harm - delay in enforcing rights - pales before the creditor body's entitlement to

plan payments. In re Lyondell Chemical Co., 402 BR. 571 (S.D.N.Y. 2009) There

would be substantial harm to all creditors for the benefit of one creditor. The plan

provides a mechanism for the temporary injunction to be removed in the event of

a default. The third element is satisfied.

       Finally, issuing the injunction does not dis-serve the public interest which

favors reorganization. In re Seatco, at 478.

E.    Terms of the Temporary Injunction.

      The Court may deem it appropriate to modify the injunction’s terms.

Plan Confirmation Memorandum For Confirmation Hearing And
Request That The Court Approve Non-Material
                                       24 Modification                   Page 24 of 25




                  Case 17-33893-tmb11        Doc 169   Filed 06/04/18
                                          V.

                                   Conclusion.

      WHEREFORE the Proponent requests that the Court:

      1.    Find that the Plan satisfies §1129 and other applicable sections of the

            U.S. Bankruptcy Code and confirm the Debtor’s proposed Plan.

      2.    Approve the Disclosure Statement on a final basis.

      3.    Direct the Debtor and creditors to carry out the terms of the Plan; and

      4.    Approve the non-material modification concerning the LeGradys’

            claim.

      DATED this 4th day of June, 2018.

                                      THE FOX LAW CORPORATION, INC.



                                      By:      /s/ Steven R. Fox

                                               Steven R. Fox, CSB #138808



                                      THE LAW OFFICES OF KEITH Y. BOYD



                                               By: /s/ Keith Y. Boyd

                                               Keith Y. Boyd, OSB #760701

                                               Of Attorneys for Debtor in Possession




Plan Confirmation Memorandum For Confirmation Hearing And
Request That The Court Approve Non-Material
                                       25 Modification                 Page 25 of 25




                 Case 17-33893-tmb11        Doc 169   Filed 06/04/18
Exhibit "H" Page 1 of 3         Exhibit “H”
                          Case 17-33893-tmb11   Doc 169   Filed 06/04/18
Exhibit "H" Page 2 of 3



                          Case 17-33893-tmb11   Doc 169   Filed 06/04/18
Exhibit "H" Page 3 of 3


                          Case 17-33893-tmb11   Doc 169   Filed 06/04/18
Exhibit "I" Page 1 of 3          Exhibit “I”
                          Case 17-33893-tmb11   Doc 169   Filed 06/04/18
  11:56 AM
  05/09/18
  Accrual Basis
         Creekside Accrual P & L          Oct 19 - 31, 17    Nov 17        Dec 17       Jan 18       Feb 18
  Ordinary Income/Expense
  Income
  Buildertrend Invoice                                       82,875.97    58,753.68    44,730.00    89,565.00
  420.00 ꞏ Construction                        3,640.00      20,877.05    29,961.72    40,495.00    78,975.00
  430.00 ꞏ Reimbursed Expenses                 1,536.47
  440.00 ꞏ Discounts
  Total Income                                 5,176.47     103,753.02    88,715.40    85,225.00 168,540.00
  Cost of Goods Sold
  830.00 ꞏ Sanitation                                          180.04        100.00        20.00      115.00
  500.25 ꞏ Licenses, Bonds & Permits                                         550.00       335.00
  500.85 ꞏ Subcontractors
  500.00 ꞏ Cost of Goods Sold                 21,946.02      24,430.18    70,261.98    96,324.88    55,614.81
  500.05 ꞏ Job materials                                      6,307.74       780.99     4,471.85     8,596.55
  500.10 ꞏ Building supplies                                  2,108.79     3,635.64       109.45
  500.15 ꞏ Engineering                                                                               1,220.00
  500.20 ꞏ Labor                                             18,610.51     8,688.10    10,145.13     7,818.24
  500.45 ꞏ Tools and Machinery                                                                         268.74
  Total COGS                                  21,946.02      51,637.26    84,016.71   111,406.31    73,633.34
  Gross Profit                               (16,769.55)     52,115.76     4,698.69   (26,181.31)   94,906.66
  Expense
  555.00 ꞏ Bookkeeping                           500.00       1,000.00     1,000.00     1,500.00      500.00
  776.00 ꞏ Payroll Processing Fees                               85.01       170.02       171.60
  725.00 ꞏ Licenses and Fees                                                 420.00       300.00
  520.00 ꞏ Advertising                                          309.00     2,608.41     5,602.16       977.16
  535.00 ꞏ Automobile and truck expense                       3,342.05     1,888.85     1,464.51     2,498.23
  550.00 ꞏ Bank charges                            6.00         599.58        35.43       267.41       924.88
  595.00 ꞏ Cleaning                                                          125.00       225.00
  599.00 ꞏ Crew lunches                                       2,121.29        53.89       500.14        46.03
  610.00 ꞏ Dues and subscriptions                             4,071.88
  680.00 ꞏ Fuel                                               1,295.65     1,694.91       796.59       814.42
  695.00 ꞏ Insurance                                          2,226.50     1,232.56     1,665.73     3,062.03
  720.00 ꞏ Legal and professional                                                       1,625.00
  750.00 ꞏ Office expense                        371.23                    1,251.57     1,325.91       869.65
  810.00 ꞏ Rent                                               1,320.00     1,120.00     1,120.00     1,240.00
  855.00 ꞏ Telephone                                            534.64       827.31                    390.51
  880.00 ꞏ Utilities                             133.87         228.30                    155.70       111.68
  885.00 ꞏ Wages                               1,750.00      26,321.16    25,064.86    25,197.31    19,355.07
  Total Expense                                2,761.10      43,455.06    37,492.81    41,917.06    30,789.66
  Net Ordinary Income                        (19,530.65)      8,660.70   (32,794.12) (68,098.37)    64,117.00
  Net Income                                 (19,530.65)      8,660.70   (32,794.12) (68,098.37)    64,117.00
                                                                                                      Page 1 of 2
Exhibit "I" Page 2 of 3


                         Case 17-33893-tmb11                Doc 169      Filed 06/04/18
11:56 AM
05/09/18
Accrual Basis
       Creekside Accrual P & L          Mar 18        Apr 18        TOTAL
Ordinary Income/Expense
Income
Buildertrend Invoice                    36,988.00     30,426.80    343,339.45
420.00 ꞏ Construction                   55,127.37     81,369.61    310,445.75
430.00 ꞏ Reimbursed Expenses                                         1,536.47
440.00 ꞏ Discounts                                        12.72         12.72
Total Income                            92,115.37    111,809.13    655,334.39
Cost of Goods Sold
830.00 ꞏ Sanitation                       105.00         95.00        615.04
500.25 ꞏ Licenses, Bonds & Permits                      106.40        991.40
500.85 ꞏ Subcontractors
500.00 ꞏ Cost of Goods Sold             49,234.92     80,568.57    398,381.36
500.05 ꞏ Job materials                   5,793.29      5,600.31     31,550.73
500.10 ꞏ Building supplies                 777.49        310.00      6,941.37
500.15 ꞏ Engineering                                                 1,220.00
500.20 ꞏ Labor                           6,283.08      9,181.87     60,726.93
500.45 ꞏ Tools and Machinery               605.14        300.00      1,173.88
Total COGS                              62,798.92     96,162.15    501,600.71
Gross Profit                            29,316.45     15,646.98    153,733.68
Expense
555.00 ꞏ Bookkeeping                     1,000.00      1,000.00      6,500.00
776.00 ꞏ Payroll Processing Fees                                       426.63
725.00 ꞏ Licenses and Fees                                             720.00
520.00 ꞏ Advertising                     2,964.76      3,256.39     15,717.88
535.00 ꞏ Automobile and truck expense    3,159.44      1,914.20     14,267.28
550.00 ꞏ Bank charges                       27.91         23.42      1,884.63
595.00 ꞏ Cleaning                          200.00        125.00        675.00
599.00 ꞏ Crew lunches                      190.44        287.15      3,198.94
610.00 ꞏ Dues and subscriptions                                      4,071.88
680.00 ꞏ Fuel                            1,000.17      1,127.47      6,729.21
695.00 ꞏ Insurance                       1,103.91      1,480.61     10,771.34
720.00 ꞏ Legal and professional                        4,875.00      6,500.00
750.00 ꞏ Office expense                  1,741.45        507.68      6,067.49
810.00 ꞏ Rent                            1,120.00      1,120.00      7,040.00
855.00 ꞏ Telephone                         422.96        675.51      2,850.93
880.00 ꞏ Utilities                         258.49        430.41      1,318.45
885.00 ꞏ Wages                          20,818.37     18,325.54    136,832.31
Total Expense                           34,007.90     35,148.38    225,571.97
Net Ordinary Income                     (4,691.45)   (19,501.40)   (71,838.29)
Net Income                              (4,691.45)   (19,501.40)   (71,838.29)
                                                                                    Page 2 of 2

Exhibit "I" Page 3 of 3


                       Case 17-33893-tmb11           Doc 169       Filed 06/04/18
Exhibit "J" Page 1 of 3          Exhibit “J”
                          Case 17-33893-tmb11   Doc 169   Filed 06/04/18
11:58 AM
05/09/18
Cash Basis
         Creekside Cash P & L           Oct 19 - 31, 17    Nov 17       Dec 17        Jan 18       Feb 18
Ordinary Income/Expense
Income
Buildertrend Invoice                                       87,464.11   58,753.68     40,000.00    81,690.00
420.00 ꞏ Construction                        1,400.00      20,613.30   30,141.72     40,495.00    80,766.94
430.00 ꞏ Reimbursed Expenses                 1,536.47
440.00 ꞏ Discounts
Total Income                                 2,936.47     108,077.41   88,895.40     80,495.00 162,456.94
Cost of Goods Sold
830.00 ꞏ Sanitation                                          180.04       100.00        20.00       115.00
500.25 ꞏ Licenses, Bonds & Permits                                        550.00       335.00
500.85 ꞏ Subcontractors
500.00 ꞏ Cost of Goods Sold                                15,977.67   54,722.31     24,499.92    99,819.83
500.05 ꞏ Job materials                                      6,307.74      780.99      4,471.85     8,596.55
500.10 ꞏ Building supplies                                  2,108.79    3,635.64        109.45
500.15 ꞏ Engineering                                                                               1,220.00
500.20 ꞏ Labor                                             18,610.51    8,688.10     10,145.13     7,818.24
500.45 ꞏ Tools and Machinery
Total COGS                                                 43,184.75   68,477.04     39,581.35 117,569.62
Gross Profit                                 2,936.47      64,892.66   20,418.36     40,913.65    44,887.32
Expense
555.00 ꞏ Bookkeeping                           500.00       1,000.00    1,000.00      1,500.00      500.00
776.00 ꞏ Payroll Processing Fees                               85.01      170.02        171.60
725.00 ꞏ Licenses and Fees                                                420.00        300.00
520.00 ꞏ Advertising                                          309.00    2,608.41      5,032.16     1,547.16
535.00 ꞏ Automobile and truck expense                       3,342.05    1,888.85      1,464.51     2,498.23
550.00 ꞏ Bank charges                            6.00         177.58      457.43        267.41       924.88
595.00 ꞏ Cleaning                                                         125.00        225.00
599.00 ꞏ Crew lunches                                       2,121.29       53.89        500.14        46.03
610.00 ꞏ Dues and subscriptions                             4,071.88
680.00 ꞏ Fuel                                               1,295.65    1,694.91        796.59       814.42
695.00 ꞏ Insurance                                          2,226.50    1,232.56      1,665.73     2,537.23
720.00 ꞏ Legal and professional                                                       1,625.00
750.00 ꞏ Office expense                        371.23                   1,362.82      1,274.16       860.65
810.00 ꞏ Rent                                               1,320.00    1,120.00      1,120.00     1,240.00
855.00 ꞏ Telephone                                            534.64      827.31                     390.51
880.00 ꞏ Utilities                                            248.02                    114.15
885.00 ꞏ Wages                               1,750.00      26,321.16   25,064.86     25,197.31    19,355.07
Total Expense                                2,627.23      43,052.78   38,026.06     41,253.76    30,714.18
Net Ordinary Income                            309.24      21,839.88   (17,607.70)     (340.11)   14,173.14
Net Income                                     309.24      21,839.88   (17,607.70)     (340.11)   14,173.14
                                                                                                   Page 1 of 2
 Exhibit "J" Page 2 of 3



                       Case 17-33893-tmb11           Doc 169        Filed 06/04/18
11:58 AM
05/09/18
Cash Basis
         Creekside Cash P & L            Mar 18       Apr 18        TOTAL
Ordinary Income/Expense
Income
Buildertrend Invoice                     66,113.00    30,266.80    364,287.59
420.00 ꞏ Construction                    60,128.81    82,829.61    316,375.38
430.00 ꞏ Reimbursed Expenses                                         1,536.47
440.00 ꞏ Discounts                                        12.72         12.72
Total Income                            126,241.81   113,109.13    682,212.16
Cost of Goods Sold
830.00 ꞏ Sanitation                        105.00        95.00        615.04
500.25 ꞏ Licenses, Bonds & Permits                      106.40        991.40
500.85 ꞏ Subcontractors
500.00 ꞏ Cost of Goods Sold              66,127.66    71,644.41    332,791.80
500.05 ꞏ Job materials                    5,793.29     5,600.31     31,550.73
500.10 ꞏ Building supplies                  777.49       310.00      6,941.37
500.15 ꞏ Engineering                                                 1,220.00
500.20 ꞏ Labor                            6,283.08     9,181.87     60,726.93
500.45 ꞏ Tools and Machinery                605.14       568.74      1,173.88
Total COGS                               79,691.66    87,506.73    436,011.15
Gross Profit                             46,550.15    25,602.40    246,201.01
Expense
555.00 ꞏ Bookkeeping                      1,000.00     1,000.00      6,500.00
776.00 ꞏ Payroll Processing Fees                                       426.63
725.00 ꞏ Licenses and Fees                                             720.00
520.00 ꞏ Advertising                      2,564.76     3,656.39     15,717.88
535.00 ꞏ Automobile and truck expense     2,595.66     2,336.24     14,125.54
550.00 ꞏ Bank charges                        27.91        23.42      1,884.63
595.00 ꞏ Cleaning                           200.00       125.00        675.00
599.00 ꞏ Crew lunches                       190.44       287.15      3,198.94
610.00 ꞏ Dues and subscriptions                                      4,071.88
680.00 ꞏ Fuel                             1,000.17     1,127.47      6,729.21
695.00 ꞏ Insurance                        1,103.91     2,005.41     10,771.34
720.00 ꞏ Legal and professional                        4,875.00      6,500.00
750.00 ꞏ Office expense                   1,811.20       507.68      6,187.74
810.00 ꞏ Rent                             1,120.00     1,120.00      7,040.00
855.00 ꞏ Telephone                          422.96       675.51      2,850.93
880.00 ꞏ Utilities                          386.25       451.96      1,200.38
885.00 ꞏ Wages                           20,818.37    18,325.54    136,832.31
Total Expense                            33,241.63    36,516.77    225,432.41
Net Ordinary Income                      13,308.52   (10,914.37)    20,768.60
Net Income                               13,308.52   (10,914.37)    20,768.60
                                                                                    Page 2 of 2

Exhibit "J" Page 3 of 3


                       Case 17-33893-tmb11           Doc 169       Filed 06/04/18
Exhibit "K" Page 1 of 2
                                Exhibit “K”
                          Case 17-33893-tmb11   Doc 169   Filed 06/04/18
  11:52 AM
  05/09/18

                  AP                      Current    1 - 30     31 - 60     61 - 90   > 90    TOTAL
  B.C. Plumbing Inc.                       175.00                                               175.00
  Bauer for Power                          350.00 11,617.37                                  11,967.37
  Best Pots, Inc                           134.40                                               134.40
  Cascade Door and Millwork                233.81    999.98                                   1,233.79
  Copy Cat                                                                          (280.45)   (280.45)
  GEO Consultants Northwest                           800.00                                    800.00
  Home Depot                                                      (3.94)          (3,331.55) (3,335.49)
  LesSchwab                                                      141.74                         141.74
  Macadam Floor and Design                         13,139.60                                 13,139.60
  McMinnville Water and Light                         118.07                                    118.07
  NorthWest Insulators Inc.               2,230.00 4,420.00                                   6,650.00
  Pacific Construction Solutions, Inc.   18,200.00                                           18,200.00
  ProBuild                                   95.68    473.25    (140.82) (184.87)               243.24
  RLP Maintenance Inc.                                                   1,020.00             1,020.00
  Sarah Spafford                           360.00                                               360.00
  Simonson Design Lab                                                              4,516.50   4,516.50
  Starkey Construction                                                   4,300.00             4,300.00
  TerraCalc Land Surveying Inc.             710.00                                              710.00
  Total Comfort Weatherization            6,246.71                                            6,246.71
  United Tile                                        5,814.48                                 5,814.48
  Withers Lumber                          1,651.14   7,709.83                                 9,360.97
  Yamhill Dirt Works                        871.20                                              871.20
  TOTAL                                  31,257.94 45,092.58      (3.02) 5,135.13    904.50 82,387.13




Exhibit "K" Page 2 of 2
                                                                                                   Page 1 of 1


                          Case 17-33893-tmb11             Doc 169         Filed 06/04/18
Exhibit "L" Page 1 of 2   Exhibit “L”
                    Case 17-33893-tmb11   Doc 169   Filed 06/04/18
 11:53 AM
 05/09/18

   Creekside Accounts Receivable   Current    1 - 30    31 - 60   61 - 90     > 90       TOTAL
 B. H.                                       1,500.00                                     1,500.00
 C. L.                                                                        4,730.00    4,730.00
 C. A.                                                            5,680.00                5,680.00
 D. G.                                                                        2,680.00    2,680.00
 H. P. K. H.                                                                  2,596.40    2,596.40
 J. C.                                                                        4,900.00    4,900.00
 K. K.                                                                          500.00      500.00
 T.S.                                          160.00                                       160.00
 TOTAL                                       1,660.00             5,680.00   15,406.40   22,746.40




                                                                                               Page 1 of 1

Exhibit "L" Page 2 of 2


                       Case 17-33893-tmb11              Doc 169      Filed 06/04/18
Exhibit "M" Page 1 of 3    Exhibit “M”
                      Case 17-33893-tmb11   Doc 169   Filed 06/04/18
11:55 AM
05/09/18
Accrual Basis
                          Creekside Balance Sheet            Apr 30, 18
ASSETS
   Current Assets
       Checking/Savings
           107 ꞏ Key Bank                                        (121.13)
           Key Bank 9462                                       14,247.00
           Key Bank 9454                                          242.00
           Key Bank 9447                                          242.00
       Total Checking/Savings                                  14,609.87
       Accounts Receivable
           112.00 ꞏ Accounts receivable                        22,746.40
       Total Accounts Receivable                               22,746.40
       Other Current Assets
           2120 ꞏ Payroll Asset                                 2,300.00
           122.00 ꞏ Work In Progress                          159,073.87
           125.00 ꞏ Note Receivable-Stockholders                6,224.47
       Total Other Current Assets                             167,598.34
   Total Current Assets                                       204,954.61
   Fixed Assets
       140.00 ꞏ Vehicles                                         4,049.00
       139.00 ꞏ Equipment                                       31,061.99
       145.00 ꞏ Accumulated depreciation                       (15,724.99)
   Total Fixed Assets                                          19,386.00
TOTAL ASSETS                                                  224,340.61
LIABILITIES & EQUITY
   Liabilities
       Current Liabilities
            Accounts Payable
               211.00 ꞏ Post-Petition Accounts Payable         82,387.13
               200.00 ꞏ Pre-Petition Accounts payable         852,755.86
           Total Accounts Payable                             935,142.99
           Other Current Liabilities
               235.00 ꞏ Swift - New                            98,605.39
               246.00 ꞏ Loan Me - Payable                      74,994.73
               240.00 ꞏ Funding Circle                         75,369.45
               245.00 ꞏ Knight Capitol Funding                106,671.38
               206.00 ꞏ Payroll liabilities                       106.99
           Total Other Current Liabilities                    355,747.94
       Total Current Liabilities                             1,290,890.93
   Total Liabilities                                         1,290,890.93
   Equity
                                                                                    Page 1 of 2

Exhibit "M" Page 2 of 3


                        Case 17-33893-tmb11              Doc 169   Filed 06/04/18
   11:55 AM
   05/09/18
   Accrual Basis
           300.00 ꞏ Capital Stock                      10,000.00
           310.00 ꞏ Retained Earnings                (990,800.36)
           350.00 ꞏ Owner's Capital                   (57,575.74)
           Net Income                                 (28,174.22)
      Total Equity                                  (1,066,550.32)
   TOTAL LIABILITIES & EQUITY                          224,340.61




                                                                            Page 2 of 2

Exhibit "M" Page 3 of 3


                          Case 17-33893-tmb11   Doc 169    Filed 06/04/18
Exhibit "N" Page 1 of 2
                                Exhibit “N”
                          Case 17-33893-tmb11   Doc 169   Filed 06/04/18
  Client       % of Completion   Contract Amount   Billed to Date      WIP          Paid to Date    Margin

 J. C.                    60%             14,200          8,520            5,680          8,520        50%
 K. G.                    91%            396,293        358,814           37,479        358,814        23%
 D. A.                     5%            469,938         25,000          444,938         25,000        27%
 T. S.                    49%            541,334        265,005          276,329        265,005        24%
 C. S.                    83%            182,865        150,936           31,929        150,936        40%
 A. P.                     7%            270,000         20,000          250,000         20,000        70%
 J. P.                    60%              7,959          4,775            3,184          4,775        70%
           Totals                      1,882,589     833,050.60     1,049,537.90        833,050




           `




Exhibit "N" Page 2 of 2


                                          Case 17-33893-tmb11        Doc 169       Filed 06/04/18
Exhibit "O" Page 1 of 2
                                Exhibit “O”
                          Case 17-33893-tmb11   Doc 169   Filed 06/04/18
                                                                          Construction         Time until
                        Customer         Customer      Design Agreement                                        Contract Amount     Margin
Bid Log Report Q1                                                         Agreement         Groundbreaking
                    Kexxx Krxxxxxxxxx Kexxx Krxxxxxxxx Yes                Yes             3 months                     $750,000         23%
                                                                                          Total                        $750,000
***Q1 Jobs closed but have not mobilized yet




                                                                          Construction         Time until
                        Customer         Customer      Design Agreement                                         Contract Amount    Margin
Bid Log Report Q2                                                         Agreement         Groundbreaking
                    Baxx              Baxx             Yes                No                          18‐Mar            $980,000        30%
                    Pexxx             Pexxx            no                 No              July                          $475,000        30%
                    Alxxxxxxx         Alxxxxxxx        No                 No              3 months?                     $950,000        30%
                    Saxxxxx           Saxxxxx          No                 No                           18‐Jun           $700,000       30%
                    McXxx             McXxx            No                 No                            1‐Apr            $30,000       35%
                    Gaxxxx            Gaxxxx           Yes                No              June                          $350,000       30%
                    Alxx Wixxxxx      Alxx Wixxxxx     Yes                No                              1‐Jul         $400,000       30%
                    Poxxxxx           Poxxxxx          Yes                No              2 months                      $200,000       35%
                                                                                          Total                       $4,085,000




           Exhibit "O" Page 2 of 2

                                               Case 17-33893-tmb11   Doc 169       Filed 06/04/18
Exhibit "P" Page 1 of 17
                                 Exhibit “P”
                           Case 17-33893-tmb11   Doc 169   Filed 06/04/18
Creekside Homes, Inc.
Projection of Cash Receipts and Disbursements
For the 31‐week Period ended 05.18.18

                                                             W. E. 10/20/17                               W. E. 10/27/17
For the week ending:                              Budget    Actual      Variance      As a   Budget    Actual       Variance             As a
  Revenue                                           27,680          ‐       (27,680) ‐100%     17,045     2,936       (14,109)            ‐83%
  COGS ‐Labor & Material                                                            ‐          35,000                   (35,000)
  Gross Profit                                      27,680          ‐       (27,680) ‐100%   (17,955)     2,936        20,891            ‐116%
     Expenses                                                                                                                   ‐
        Advertising                                                                              1,026                    (1,026)        ‐100%
        Adequate Protection Payment(s)
        Auto Expense (Leases and fuel)                                                             1,100                       (1,100)   ‐100%
        Bookkeeping                                      500                  (500) ‐100%                        500              500
        Insurance ‐Liab, Auto & WC                                                                                                   ‐
        Payroll ‐Officers                                                                                                            ‐
        Payroll‐admin, PR Tax and fees                                                                       1,750          1,750
        Office & Admin Expenses                                                                    2,175             6         (2,169)   ‐100%
        Rent Expense                                                                                                                 ‐
        Repairs & Maintenance                            200                  (200) ‐100%                                            ‐
        Shop Supplies & Small Tools                      250                  (250) ‐100%                                            ‐
        Telephone and Utilities                       1,100         371       (729) ‐66%                                             ‐
        US Trustee Fees                                                                                                              ‐
     Total Expense                                    2,050         371                            4,301     2,256
  Net Ordinary Income                               25,630       (371)                         (22,256)         680


         Beg Cash
         Net Cash In/(Out)
         Ending Cash




    Exhibit "P" Page 2 of 17


                                                 Case 17-33893-tmb11             Doc 169       Filed 06/04/18
Creekside Homes, Inc.
Projection of Cash Receipts and Disbursements
For the 31‐week Period ended 05.18.18

                                                              W. E. 11/03/17                                      W. E. 11/10/17
For the week ending:                               Budget      Actual Variance              As a     Budget        Actual Variance As a
  Revenue                                               4,080         ‐      (4,080)        ‐100%               ‐         ‐           ‐  #DIV/0!
  COGS ‐Labor & Material                                              ‐          ‐                         1,000        300        (700)
  Gross Profit                                          4,080         ‐      (4,080)        ‐100%         (1,000)      (300)         700    ‐70%
     Expenses                                                                    ‐                                                    ‐
        Advertising                                     1,750         ‐      (1,750)        ‐100%                    1,750      1,750
        Adequate Protection Payment(s)
        Auto Expense (Leases and fuel)                       ‐          ‐             ‐                                                   ‐
        Bookkeeping                                         500         ‐           (500)   ‐100%                          500         500
        Insurance ‐Liab, Auto & WC                      3,240         ‐          (3,240)    ‐100%                                         ‐
        Payroll ‐Officers                                               ‐             ‐                                                   ‐
        Payroll‐admin, PR Tax and fees                                  ‐             ‐                                    300         300
        Office & Admin Expenses                                         ‐             ‐                                      (3)             (3)
        Rent Expense                                    1,120         ‐          (1,120)    ‐100%                                         ‐
        Repairs & Maintenance                                           ‐             ‐                                                   ‐
        Shop Supplies & Small Tools                         250         ‐           (250)   ‐100%                                         ‐
        Telephone and Utilities                                         ‐             ‐                                                   ‐
        US Trustee Fees                                                 ‐             ‐                                                   ‐
     Total Expense                                      6,860         ‐                                           ‐    2,547
  Net Ordinary Income                                  (2,780)         ‐                                    (1,000)   (2,847)


         Beg Cash
         Net Cash In/(Out)
         Ending Cash




      Exhibit "P" Page 3 of 17


                                                 Case 17-33893-tmb11                    Doc 169      Filed 06/04/18
Creekside Homes, Inc.
Projection of Cash Receipts and Disbursements
For the 31‐week Period ended 05.18.18

                                                                   W. E. 11/17/17                                               W. E. 11/24/17
For the week ending:                               Budget         Actual        Variance              As a    Budget       Actual          Variance             As a
  Revenue                                            106,000       107,427          1,427                1%     25,250            650         (24,600)           ‐97%
  COGS ‐Labor & Material                               61,000         22,557       (38,443)            ‐63%       3,000         5,919             2,919           97%
  Gross Profit                                         45,000         84,871        39,871              89%     22,250        (5,269)         (21,681)           ‐97%
     Expenses                                                                               ‐                                                           ‐
        Advertising                                                         ‐               ‐                                                           ‐
        Adequate Protection Payment(s)
        Auto Expense (Leases and fuel)                   1,801                             (1,801)                                    828                828
        Bookkeeping                                          500           500                   ‐      0%                                                 ‐
        Insurance ‐Liab, Auto & WC                                                               ‐                                    608                608
        Payroll ‐Officers                                8,200           6,772             (1,428)                                 1,428             1,428
        Payroll‐admin, PR Tax and fees                 16,500         11,666               (4,834)                                 4,706             4,706
        Office & Admin Expenses                          2,175               101           (2,074)                2,175                 15           (2,160)     ‐99%
        Rent Expense                                                       1,000            1,000                                                          ‐
        Repairs & Maintenance                                200             648                448                  200                                (200)
                                                                                                                                                                ‐100%
        Shop Supplies & Small Tools                          250                              (250)   ‐100%                                                ‐
        Telephone and Utilities                                                                 ‐                 1,100               302               (798)
                                                                                                                                                                 ‐73%
        US Trustee Fees                                                                         ‐                                                          ‐
     Total Expense                                     29,626         20,686                                      3,475            7,885
  Net Ordinary Income                                  15,374         64,185                                    18,775         (13,154)


         Beg Cash
         Net Cash In/(Out)
         Ending Cash




     Exhibit "P" Page 4 of 17


                                                 Case 17-33893-tmb11                     Doc 169        Filed 06/04/18
Creekside Homes, Inc.
Projection of Cash Receipts and Disbursements
For the 31‐week Period ended 05.18.18

                                                                W. E. 12/01/17                                    W. E. 12/08/17
For the week ending:                              Budget       Actual Variance              As a    Budget      Actual       Variance           As a
  Revenue                                                  ‐                        ‐                 30,000        6,700       (23,300)         ‐78%
  COGS ‐Labor & Material                             15,000    24,828        9,828            66%     30,500      12,931       (17,569)          ‐58%
  Gross Profit                                     (15,000)   (24,828)       (9,828)          66%        (500)    (6,231)
                                                                                                                                   (5,731)
     Expenses                                                                       ‐                                                    ‐
        Advertising                                    2,750       2,059          (691)      ‐25%                                        ‐
        Adequate Protection Payment(s)
        Auto Expense (Leases and fuel)                 1,100       1,489           389        35%       1,801           255         (1,546)      ‐86%
        Bookkeeping                                       500          500            ‐        0%                                          ‐
        Insurance ‐Liab, Auto & WC                     3,240       1,619       (1,621)       ‐50%                                          ‐
        Payroll ‐Officers                                                             ‐                                                    ‐
        Payroll‐admin, PR Tax and fees                                 500           500                                 400              400
        Office & Admin Expenses                                        445           445                2,175           334         (1,841)      ‐85%
        Rent Expense                                   1,120                     (1,120)    ‐100%                     1,120          1,120
        Repairs & Maintenance                                                         ‐                    200                          (200)   ‐100%
        Shop Supplies & Small Tools                       250                       (250)   ‐100%                                         ‐ 
        Telephone and Utilities                                        535           535                                                  ‐ 
        US Trustee Fees                                                               ‐                                                   ‐ 
     Total Expense                                     8,960       7,147                                4,176        2,108
  Net Ordinary Income                              (23,960)   (31,975)                                 (4,676)       (8,339)


         Beg Cash
         Net Cash In/(Out)
         Ending Cash




          Exhibit "P" Page 5 of 17


                                                 Case 17-33893-tmb11                  Doc 169        Filed 06/04/18
Creekside Homes, Inc.
Projection of Cash Receipts and Disbursements
For the 31‐week Period ended 05.18.18

                                                                W. E. 12/15/17                                        W. E. 12/22/17
For the week ending:                              Budget      Actual      Variance               As a    Budget      Actual    Variance                As a
  Revenue                                         130,000      45,302     (84,698)                ‐65%       5,680   36,894        31,214               550%
  COGS ‐Labor & Material                            88,000      16,136     (71,864)               ‐82%     26,000   28,263          2,263                 9%
  Gross Profit                                      42,000      29,166     (12,834)               ‐31%   (20,320)     8,630        28,950              ‐142%
     Expenses                                                                        ‐
        Advertising                                                                  ‐                                                            ‐
        Adequate Protection Payment(s)
        Auto Expense (Leases and fuel)                                   100              100                                                     ‐
        Bookkeeping                                       500            500               ‐        0%                                            ‐
        Insurance ‐Liab, Auto & WC                                       608              608                              625                   625
        Payroll ‐Officers                             8,200        6,772              (1,428)     ‐17%                 1,428                 1,428
        Payroll‐admin, PR Tax and fees              16,500      11,129                (5,371)     ‐33%                 5,014                 5,014
        Office & Admin Expenses                                          600              600                2,175         309              (1,866)     ‐86%
        Rent Expense                                                                       ‐                                                      ‐
        Repairs & Maintenance                                                              ‐                      200                          (200)   ‐100%
        Shop Supplies & Small Tools                       250                            (250)   ‐100%                                           ‐ 
        Telephone and Utilities                       1,100                           (1,100)    ‐100%                      1,453            1,453
        US Trustee Fees                                                                    ‐
     Total Expense                                  26,550      19,709                                         2,375     8,829
  Net Ordinary Income                               15,450        9,457                                    (22,695)       (198)


         Beg Cash
         Net Cash In/(Out)
         Ending Cash




        Exhibit "P" Page 6 of 17



                                                 Case 17-33893-tmb11                      Doc 169        Filed 06/04/18
Creekside Homes, Inc.
Projection of Cash Receipts and Disbursements
For the 31‐week Period ended 05.18.18

                                                               W. E. 12/29/17                                  W. E. 01/05/18
For the week ending:                              Budget      Actual     Variance         As a    Budget      Actual        Variance           As a
  Revenue                                           38,459           ‐     (38,459)       ‐100%     80,000             ‐      (80,000)         ‐100%
  COGS ‐Labor & Material                            30,000     12,928    (17,072)          ‐57%     68,450            196    (68,254)          ‐100%
  Gross Profit                                        8,459   (12,928)    (21,387)        ‐253%     11,550           (196) (11,746)            ‐102%
     Expenses
        Advertising                                                   631           631                  1,750         1,750            ‐        0%
        Adequate Protection Payment(s)
        Auto Expense (Leases and fuel)                1,100       2,124        1,024        93%       1,801            492       (1,309)        ‐73%
        Bookkeeping                                                                 ‐                    500            500            ‐          0%
        Insurance ‐Liab, Auto & WC                                                  ‐                 3,240              (56)      (3,296)
                                                                                                                                               ‐102%
        Payroll ‐Officers                                                           ‐                                                    ‐
        Payroll‐admin, PR Tax and fees                               250           250                                  300           300
        Office & Admin Expenses                                      654           654                2,175            377       (1,798)        ‐83%
        Rent Expense                                                                ‐                 1,120                         (1,120)
        Repairs & Maintenance                                                       ‐                    200                           (200)   ‐100%
        Shop Supplies & Small Tools                                                 ‐                    250                           (250)   ‐100%
        Telephone and Utilities                                                     ‐                                                    ‐
        US Trustee Fees                                                             ‐                 4,875                         (4,875)    ‐100%
     Total Expense                                    1,100       3,659                             15,911         3,363
  Net Ordinary Income                                 7,359   (16,587)                               (4,361)        (3,559)


         Beg Cash
         Net Cash In/(Out)
         Ending Cash




           Exhibit "P" Page 7 of 17



                                                 Case 17-33893-tmb11                  Doc 169      Filed 06/04/18
Creekside Homes, Inc.
Projection of Cash Receipts and Disbursements
For the 31‐week Period ended 05.18.18

                                                               W. E. 01/12/18                                          W. E. 01/19/18
For the week ending:                              Budget      Actual     Variance                 As a    Budget      Actual     Variance                 As a
  Revenue                                           80,000       80,000            ‐                 0%     80,000                 (80,000)               ‐100%
  COGS ‐Labor & Material                            68,450       17,792    (50,658)                ‐74%     68,450       18,097    (50,353)                ‐74%
  Gross Profit                                      11,550       62,208      50,658                439%     11,550     (18,097)    (29,647)               ‐257%
     Expenses
        Advertising                                       ‐                                ‐                        ‐                               ‐
        Adequate Protection Payment(s)
        Auto Expense (Leases and fuel)                    ‐                                ‐                        ‐                               ‐
        Bookkeeping                                      500              500              ‐         0%                                             ‐
        Insurance ‐Liab, Auto & WC                        ‐               624             624                                      808             808
        Payroll ‐Officers                             8,200            6,772          (1,428)      ‐17%                                             ‐
        Payroll‐admin, PR Tax and fees              16,500           11,180           (5,320)      ‐32%                        6,677            6,677
        Office & Admin Expenses                                           148             148                   2,175            261           (1,914)     ‐88%
        Rent Expense                                                                       ‐                                   1,120            1,120
        Repairs & Maintenance                                                              ‐                       200                            (200)   ‐100%
        Shop Supplies & Small Tools                                                        ‐                                                         ‐
        Telephone and Utilities                                                            ‐                                     734                734
        US Trustee Fees                                                                    ‐                                  1,625             1,625
     Total Expense                                  25,200       19,224                                         2,375       11,225
  Net Ordinary Income                             (13,650)       42,984                                         9,175     (29,321)


         Beg Cash
         Net Cash In/(Out)
         Ending Cash




        Exhibit "P" Page 8 of 17



                                                 Case 17-33893-tmb11                           Doc 169    Filed 06/04/18
Creekside Homes, Inc.
Projection of Cash Receipts and Disbursements
For the 31‐week Period ended 05.18.18

                                                               W. E. 01/26/18                                             W. E. 02/02/18
For the week ending:                              Budget     Actual       Variance               As a      Budget         Actual       Variance              As a
  Revenue                                           80,000           ‐        (80,000)           ‐100%         25,000            495       (24,505)           ‐98%
  COGS ‐Labor & Material                            68,450        (885)
                                                                              (69,335)
                                                                                                 ‐101%         16,250        4,555       (11,695)             ‐72%
  Gross Profit                                      11,550          885       (10,665)            ‐92%           8,750       (4,060)       (12,810)          ‐146%
     Expenses
        Advertising                                   1,000          100               (900)      ‐90%           1,750        3,182          1,432            82%
        Adequate Protection Payment(s)
        Auto Expense (Leases and fuel)                1,100          481                 (619)    ‐56%           2,940            1,288         (1,652)       ‐56%
        Bookkeeping                                                                        ‐                        500               500               ‐       0%
        Insurance ‐Liab, Auto & WC                                      290               290
                                                                                                                 2,300                            (2,300)    ‐100%
        Payroll ‐Officers                                                                  ‐                         ‐                                  ‐
        Payroll‐admin, PR Tax and fees                                                     ‐                         ‐                600              600
        Office & Admin Expenses                                           77                77                      900           1,700              800       89%
        Rent Expense                                                                        ‐                    1,120            1,120               ‐         0%
        Repairs & Maintenance                                                               ‐                       200                              (200)   ‐100%
        Shop Supplies & Small Tools                      250                             (250)   ‐100%              200                              (200)   ‐100%
        Telephone and Utilities                       1,100                           (1,100)    ‐100%               ‐                                 ‐ 
        US Trustee Fees                                                                     ‐                                                          ‐ 
     Total Expense                                    3,450             948                                         9,910        8,391
  Net Ordinary Income                                 8,100              (63)                                      (1,160)     (12,451)


         Beg Cash
         Net Cash In/(Out)
         Ending Cash




       Exhibit "P" Page 9 of 17


                                                 Case 17-33893-tmb11                      Doc 169        Filed 06/04/18
Creekside Homes, Inc.
Projection of Cash Receipts and Disbursements
For the 31‐week Period ended 05.18.18

                                                               W. E. 02/09/18                                            W.E. 02/16/18
For the week ending:                              Budget      Actual    Variance             As a    Budget         Actual         Variance                       As a
  Revenue                                           25,000   40,000        15,000              60%     25,000         102,457           77,457                     310%
  COGS ‐Labor & Material                            16,250   20,766          4,516             28%     16,250           49,920           33,670                    207%
  Gross Profit                                        8,750   19,234        10,484            120%       8,750           52,537           43,787                   500%
     Expenses
        Advertising                                       ‐           570              570                     ‐                     ‐                     ‐
        Adequate Protection Payment(s)
        Auto Expense (Leases and fuel)                    ‐                           ‐                                                                    ‐
        Bookkeeping                                       ‐                           ‐                       500                   500                    ‐        0%
        Insurance ‐Liab, Auto & WC                        ‐                           ‐                        ‐                2,537                 2,537
        Payroll ‐Officers                                 ‐                           ‐                    6,800                6,854                        54      1%
        Payroll‐admin, PR Tax and fees                    ‐                           ‐                  17,000               13,494                 (3,506)       ‐21%
        Office & Admin Expenses                           ‐                           ‐                                             872                   872
        Rent Expense                                      ‐         120              120                                                                   ‐
        Repairs & Maintenance                             ‐                           ‐                                                                    ‐
        Shop Supplies & Small Tools                       ‐                           ‐                                                                    ‐
        Telephone and Utilities                           ‐                           ‐                                                                    ‐
        US Trustee Fees                                                               ‐                                                                    ‐
     Total Expense                                        ‐         690                                  24,300           24,257
  Net Ordinary Income                                 8,750   18,544                                   (15,550)           28,279


         Beg Cash
         Net Cash In/(Out)
         Ending Cash




      Exhibit "P" Page 10 of 17


                                                 Case 17-33893-tmb11                    Doc 169       Filed 06/04/18
Creekside Homes, Inc.
Projection of Cash Receipts and Disbursements
For the 31‐week Period ended 05.18.18

                                                                      W.E. 02/23/18                                                 W.E. 03/02/18
For the week ending:                              Budget         Actual          Variance               As a    Budget         Actual           Variance                  As a
  Revenue                                           25,000           20,000            (5,000)           ‐20%     20,258             5,001          (15,257)               ‐75%
  COGS ‐Labor & Material                            16,250           46,081           29,831             184%     13,168                 530          (12,638)             ‐96%
  Gross Profit                                        8,750          (26,081)          (34,831)         ‐398%       7,090             4,471            (2,619)             ‐37%
     Expenses
        Advertising                                       ‐                    ‐                    ‐                     750                  ‐                  (750)
        Adequate Protection Payment(s)
        Auto Expense (Leases and fuel)                    ‐              2,489             2,489                    2,940                 973                  (1,967)
        Bookkeeping                                                                               ‐                    500                 500                       ‐
        Insurance ‐Liab, Auto & WC                                                                ‐                 2,300                                      (2,300)
        Payroll ‐Officers                                                                         ‐                     ‐                                            ‐
        Payroll‐admin, PR Tax and fees                    ‐                  600                 600                    ‐              2,250                    2,250
        Office & Admin Expenses                           ‐              1,914             1,914                       900                    3                   (897)
        Rent Expense                                                                              ‐                 1,120                                      (1,120)
        Repairs & Maintenance                             ‐                  362                 362                   200                                        (200)
        Shop Supplies & Small Tools                                                               ‐                    200                                        (200)
        Telephone and Utilities                          800                 571               (229)     ‐29%          800                                        (800)   ‐100%
        US Trustee Fees                                                                          ‐                                                                  ‐ 
     Total Expense                                       800             5,936                                         9,710             3,726
  Net Ordinary Income                                 7,950          (32,016)                                         (2,620)                 746


         Beg Cash
         Net Cash In/(Out)
         Ending Cash




            Exhibit "P" Page 11 of 17



                                                 Case 17-33893-tmb11                        Doc 169       Filed 06/04/18
Creekside Homes, Inc.
Projection of Cash Receipts and Disbursements
For the 31‐week Period ended 05.18.18

                                                               W.E. 03/09/18                                   W.E. 03/16/18
For the week ending:                              Budget Actual Variance                  As a    Budget      Actual   Variance                 As a
  Revenue                                           20,258         ‐        (20,258)      ‐100%     20,258   66,113        45,855                226%
  COGS ‐Labor & Material                            13,168    1,749       (11,419)         ‐87%     13,168   36,712        23,544                179%
  Gross Profit                                        7,090   (1,749)         (8,840)     ‐125%       7,090   29,401        22,310               315%
     Expenses
        Advertising                                                                  ‐                                                     ‐
        Adequate Protection Payment(s)                         1,739          1,739                                                        ‐
        Auto Expense (Leases and fuel)                                               ‐                                                     ‐
        Bookkeeping                                                                  ‐                     500         500                 ‐
        Insurance ‐Liab, Auto & WC                                                   ‐                                 814                814
        Payroll ‐Officers                                                            ‐                  6,800                        (6,800)
        Payroll‐admin, PR Tax and fees                                               ‐                17,000     7,484               (9,516)
        Office & Admin Expenses                                    270              270                                                    ‐
        Rent Expense                                                                 ‐                              1,120             1,120
        Repairs & Maintenance                                                        ‐                                                     ‐
        Shop Supplies & Small Tools                                                  ‐                                                     ‐
        Telephone and Utilities                                    299              299                                                    ‐
        US Trustee Fees                                                              ‐                                                     ‐
     Total Expense                                        ‐    2,308                                  24,300     9,917
  Net Ordinary Income                                 7,090   (4,057)                               (17,210)   19,483


         Beg Cash
         Net Cash In/(Out)
         Ending Cash




      Exhibit "P" Page 12 of 17


                                                 Case 17-33893-tmb11                  Doc 169     Filed 06/04/18
Creekside Homes, Inc.
Projection of Cash Receipts and Disbursements
For the 31‐week Period ended 05.18.18

                                                               W.E. 03/23/18                                    W.E. 03/30/18
For the week ending:                              Budget      Actual   Variance            As a     Budget      Actual Variance         As a
  Revenue                                           20,258   50,607        30,349           150%       20,258    4,521    (15,738)       ‐78%
  COGS ‐Labor & Material                            13,168   36,123        22,955           174%       13,168    2,470    (10,698)       ‐81%
  Gross Profit                                        7,090   14,484          7,394         104%         7,090    2,050       (5,040)    ‐71%
     Expenses
        Advertising                                                 416              416
        Adequate Protection Payment(s)                                                ‐
        Auto Expense (Leases and fuel)                          1,280          1,280                                 1,844
        Bookkeeping                                                                   ‐                                   ‐
        Insurance ‐Liab, Auto & WC                                                    ‐                                  290
        Payroll ‐Officers                                       6,859          6,859
        Payroll‐admin, PR Tax and fees                          5,929          5,929                                      ‐
        Office & Admin Expenses                                 4,081          4,081                                         8
        Rent Expense                                                                  ‐                                   ‐
        Repairs & Maintenance                                                         ‐
        Shop Supplies & Small Tools                                 105              105
        Telephone and Utilities                                     542              542
        US Trustee Fees                                                               ‐
     Total Expense                                        ‐   19,211                                          ‐     2,143
  Net Ordinary Income                                 7,090    (4,727)                                     7,090         (93)


         Beg Cash
         Net Cash In/(Out)
         Ending Cash




           Exhibit "P" Page 13 of 17




                                                 Case 17-33893-tmb11                  Doc 169      Filed 06/04/18
Creekside Homes, Inc.
Projection of Cash Receipts and Disbursements
For the 31‐week Period ended 05.18.18

                                                                W.E. 04/06/18                                      W.E. 04/13/18
For the week ending:                               Budget      Actual Variance                As a    Budget      Actual   Variance               As a
  Revenue                                             23,750         ‐     (23,750)           ‐100%     23,750   74,399        50,649              213%
  COGS ‐Labor & Material                              15,438    1,180    (14,258)              ‐92%     15,438   19,133          3,695              24%
  Gross Profit                                          8,313   (1,180)       (9,493)         ‐114%       8,313   55,267        46,954             565%
     Expenses
        Advertising                                         750        400            (350)    ‐47%                                          ‐
        Adequate Protection Payment(s)                                                  ‐                                599                599
        Auto Expense (Leases and fuel)                                                  ‐                 2,940         828            (2,112)     ‐72%
        Bookkeeping                                         500        500              ‐        0%          500         500                 ‐       0%
        Insurance ‐Liab, Auto & WC                                                      ‐                 2,300         667            (1,633)     ‐71%
        Payroll ‐Officers                                                               ‐                                                    ‐
        Payroll‐admin, PR Tax and fees                           2,250              2,250                                                    ‐
        Office & Admin Expenses                                    (375)              (375)                                                  ‐
        Rent Expense                                    1,120    1,120                  ‐        0%                                          ‐
        Repairs & Maintenance                                                           ‐                                                    ‐
        Shop Supplies & Small Tools                                                     ‐                                                    ‐
        Telephone and Utilities                             800        315            (485)    ‐61%                                          ‐
        US Trustee Fees                                                                 ‐                                                    ‐
     Total Expense                                      3,170    4,210                                      5,740     2,593
  Net Ordinary Income                                   5,143   (5,390)                                     2,573   52,674


         Beg Cash
         Net Cash In/(Out)
         Ending Cash




          Exhibit "P" Page 14 of 17


                                                 Case 17-33893-tmb11                     Doc 169       Filed 06/04/18
Creekside Homes, Inc.
Projection of Cash Receipts and Disbursements
For the 31‐week Period ended 05.18.18

                                                               W.E. 04/20/18                                           W.E. 04/27/18
For the week ending:                              Budget      Actual    Variance                As a    Budget       Actual Variance               As a
  Revenue                                           23,750     31,452        7,702                32%       23,750    7,245      (16,505)           ‐69%
  COGS ‐Labor & Material                            15,438     57,855      42,418                275%       15,438    4,231      (11,206)           ‐73%
  Gross Profit                                        8,313   (26,403)     (34,716)             ‐418%         8,313    3,014         (5,299)        ‐64%
     Expenses
        Advertising                                                                        ‐                                                  ‐
        Adequate Protection Payment(s)                                                     ‐                                                  ‐
        Auto Expense (Leases and fuel)                                                     ‐                                                  ‐
        Bookkeeping                                                                        ‐                                                  ‐
        Insurance ‐Liab, Auto & WC                                    814                 814                                947             947
        Payroll ‐Officers                             6,800       7,218                   418      6%                                         ‐
        Payroll‐admin, PR Tax and fees              17,000     12,761                (4,239)     ‐25%                                         ‐
        Office & Admin Expenses                          900               0            (900)   ‐100%                                         ‐
        Rent Expense                                                                       ‐                                                  ‐
        Repairs & Maintenance                            200                            (200)   ‐100%                        595             595
        Shop Supplies & Small Tools                      200                            (200)   ‐100%                                         ‐
        Telephone and Utilities                           ‐             504              504
                                                                                                                             168             168
        US Trustee Fees                               1,950          4,875            2,925     150%                                          ‐
     Total Expense                                  27,050         26,172                                           ‐    1,710
  Net Ordinary Income                             (18,738)       (52,575)                                       8,313    1,303


         Beg Cash
         Net Cash In/(Out)
         Ending Cash




         Exhibit "P" Page 15 of 17



                                                 Case 17-33893-tmb11                       Doc 169       Filed 06/04/18
Creekside Homes, Inc.
Projection of Cash Receipts and Disbursements
For the 31‐week Period ended 05.18.18

                                                                  W.E. 05/04/18                                             W.E. 05/11/18
For the week ending:                              Budget         Actual       Variance             As a    Budget         Actual        Variance       As a
  Revenue                                             25,000        1,031      (23,969)             ‐96%       25,000      70,000        45,000         180%
  COGS ‐Labor & Material                              16,250        6,364         (9,886)           ‐61%       16,250              50      (16,200)    ‐100%
  Gross Profit                                          8,750       (5,334)      (14,084)          ‐161%         8,750      69,950        61,200        699%
     Expenses
        Advertising                                        750            841                 91                                                  ‐
        Adequate Protection Payment(s)                                                       ‐                                   392             392
        Auto Expense (Leases and fuel)                  2,940            492            (2,448)    ‐83%                                           ‐
        Bookkeeping                                        500            500                ‐       0%                                           ‐
        Insurance ‐Liab, Auto & WC                                         ‐                 ‐                                                    ‐
        Payroll ‐Officers                                                                    ‐                                                    ‐
        Payroll‐admin, PR Tax and fees                                1,750              1,750                                                    ‐
        Office & Admin Expenses                            900        2,512              1,612     179%                          100             100
        Rent Expense                                                                         ‐                                                    ‐
        Repairs & Maintenance                                            ‐                   ‐                                    ‐               ‐
        Shop Supplies & Small Tools                                                          ‐                                                    ‐
        Telephone and Utilities                                          ‐                   ‐                                    ‐               ‐
        US Trustee Fees                                                                      ‐                                                    ‐
     Total Expense                                      5,090        6,095                                          ‐            492
  Net Ordinary Income                                   3,660     (11,429)                                      8,750      69,458


         Beg Cash
         Net Cash In/(Out)
         Ending Cash




         Exhibit "P" Page 16 of 17



                                                 Case 17-33893-tmb11                      Doc 169        Filed 06/04/18
Creekside Homes, Inc.
Projection of Cash Receipts and Disbursements
For the 31‐week Period ended 05.18.18

                                                                   W.E. 05/18/18                                            10/19/17 thru 05/18/18
For the week ending:                              Budget         Actual      Variance               As a       Budget           Actual      Variance          As a
  Revenue                                             25,000      20,541         (4,459)              ‐18%   1,075,486    773,772     (301,714)                  ‐28%
  COGS ‐Labor & Material                              16,250      56,338        40,088               247%       804,640    503,120     (301,520)                 ‐37%
  Gross Profit                                          8,750     (35,797)      (44,547)            ‐509%       270,846    270,651                    (195)        0%
     Expenses                                                                                                            ‐             ‐                ‐
        Advertising                                                     1,885            1,885     #DIV/0!         12,276      13,585           1,309            11%
        Adequate Protection Payment(s)                                       ‐               ‐     #DIV/0!               ‐          2,729           2,729
        Auto Expense (Leases and fuel)                                  2,364            2,364     #DIV/0!         21,563      17,326          (4,237)          ‐20%
        Bookkeeping                                        500              500              ‐          0%           7,500        7,500               ‐           0%
        Insurance ‐Liab, Auto & WC                      2,300           1,331              (969)      ‐42%         18,920      12,524          (6,396)          ‐34%
        Payroll ‐Officers                               6,800           7,213               413         6%         51,800      51,315                 (485)      ‐1%
        Payroll‐admin, PR Tax and fees                17,000          13,264            (3,736)       ‐22%       117,500    114,254          (3,246)             ‐3%
        Office & Admin Expenses                                         2,954            2,954     #DIV/0!         18,825      17,363          (1,462)           ‐8%
        Rent Expense                                    1,120           1,120                ‐          0%           7,840        7,840               ‐           0%
        Repairs & Maintenance                              200               ‐             (200)    ‐100%           2,200        1,605                (595)     ‐27%
        Shop Supplies & Small Tools                        200                             (200)    ‐100%           2,550            105          (2,445)       ‐96%
        Telephone and Utilities                            200              324             124        62%           7,000        6,118               (882)     ‐13%
        US Trustee Fees                                                                      ‐     #DIV/0!           6,825        6,500               (325)      ‐5%
     Total Expense                                    28,320          30,954                                     274,799    258,763
  Net Ordinary Income                               (19,570)         (66,751)                                       (3,953)      11,889


         Beg Cash                                                                                                                                     3,934
         Net Cash In/(Out)                                                                                                                          11,889
         Ending Cash                                                                                                                                15,822




           Exhibit "P" Page 17 of 17


                                                 Case 17-33893-tmb11                      Doc 169           Filed 06/04/18
Exhibit "Q" Page 1 of 21
                                 Exhibit “Q”
                           Case 17-33893-tmb11   Doc 169   Filed 06/04/18
Exhibit "Q" Page 2 of 21
                           Case 17-33893-tmb11   Doc 169   Filed 06/04/18
Exhibit "Q" Page 3 of 21
                           Case 17-33893-tmb11   Doc 169   Filed 06/04/18
Exhibit "Q" Page 4 of 21


                           Case 17-33893-tmb11   Doc 169   Filed 06/04/18
Exhibit "Q" Page 5 of 21

                           Case 17-33893-tmb11   Doc 169   Filed 06/04/18
Exhibit "Q" Page 6 of 21

                           Case 17-33893-tmb11   Doc 169   Filed 06/04/18
Exhibit "Q" Page 7 of 21

                           Case 17-33893-tmb11   Doc 169   Filed 06/04/18
Exhibit "Q" Page 8 of 21


                           Case 17-33893-tmb11   Doc 169   Filed 06/04/18
Exhibit "Q" Page 9 of 21

                           Case 17-33893-tmb11   Doc 169   Filed 06/04/18
Exhibit "Q" Page 10 of 21


                            Case 17-33893-tmb11   Doc 169   Filed 06/04/18
Exhibit "Q" Page 11 of 21


                            Case 17-33893-tmb11   Doc 169   Filed 06/04/18
Exhibit "Q" Page 12 of 21


                        Case 17-33893-tmb11   Doc 169   Filed 06/04/18
Exhibit "Q" Page 13 of 21


                            Case 17-33893-tmb11   Doc 169   Filed 06/04/18
Exhibit "Q" Page 14 of 21



                            Case 17-33893-tmb11   Doc 169   Filed 06/04/18
Exhibit "Q" Page 15 of 21


                            Case 17-33893-tmb11   Doc 169   Filed 06/04/18
                                                                     XXXXXXXXXXXX
                                                                       XXXXXXXXX
                                                                     XXXXXXXXXXX
                                                                    XXXXXXXXXXXXXXXXXXOOX




Exhibit "Q" Page 16 of 21
                        Case 17-33893-tmb11   Doc 169   Filed 06/04/18
Exhibit "Q" Page 17 of 21

                            Case 17-33893-tmb11   Doc 169   Filed 06/04/18
                                                                 XXXXXXXXXXXX
                                                            XXXXXXXXXXXXXXXXXXXXX
                                                             XXXXXXXXXX
                                                              XXXXXXXXXXXX




Exhibit "Q" Page 18 of 21
                            Case 17-33893-tmb11   Doc 169   Filed 06/04/18
Exhibit "Q" Page 19 of 21
                            Case 17-33893-tmb11   Doc 169   Filed 06/04/18
Exhibit "Q" Page 20 of 21

                            Case 17-33893-tmb11   Doc 169   Filed 06/04/18
Exhibit "Q" Page 21 of 21
                            Case 17-33893-tmb11   Doc 169   Filed 06/04/18
Exhibit "R" Page 1 of 9
                            Exhibit “R”
                      Case 17-33893-tmb11   Doc 169   Filed 06/04/18
Exhibit "R" Page 2 of 9
                Case 17-33893-tmb11   Doc 169   Filed 06/04/18
Exhibit "R" Page 3 of 9
                Case 17-33893-tmb11   Doc 169   Filed 06/04/18
Exhibit "R" Page 4 of 9
                Case 17-33893-tmb11   Doc 169   Filed 06/04/18
Exhibit "R" Page 5 of 9
               Case 17-33893-tmb11   Doc 169   Filed 06/04/18
Exhibit "R" Page 6 of 9
               Case 17-33893-tmb11   Doc 169   Filed 06/04/18
Exhibit "R" Page 7 of 9
               Case 17-33893-tmb11   Doc 169   Filed 06/04/18
Exhibit "R" Page 8 of 9

              Case 17-33893-tmb11   Doc 169   Filed 06/04/18
Exhibit "R" Page 9 of 9

               Case 17-33893-tmb11   Doc 169   Filed 06/04/18
                               CERTIFICATE OF SERVICE

             I hereby certify that on June 4, 2018, I served the following:
(1) PLAN CONFIRMATION MEMORANDUM FOR CONFIRMATION HEARING AND
REQUEST THAT THE COURT APPROVE NON-MATERIAL MODIFICATION


(2) DECLARATION OF KEITH BOYD IN CONNECTION WITH DEBTOR’S PLAN
CONFIRMATION MEMORANDUM FOR CONFIRMATION HEARING AND REQUEST
THAT THE COURT APPROVE NON-MATERIAL MODIFICATION; AND


(3) DECLARATION OF ANDREW BURTON IN SUPPORT OF DEBTOR’S PLAN
CONFIRMATION MEMORANDUM FOR CONFIRMATION HEARING AND REQUEST
THAT THE COURT APPROVE NON-MATERIAL MODIFICATION


by depositing in the United States mail at Encino, California full and complete copies
thereof, by first class mail, postage prepaid, or email transmission where indicated,
addressed to the following:


             via Manual Service (first class mail and as described below):



Creekside Homes, Inc. (via Email)
c/o Andrew Burton                               Berkley
219 NE Hwy 99W                                  Accounts Receivable
McMinnville, OR 97128                           PO Box 59143
                                                Minneapolis, MN 55459-0143
Largest Unsecured Creditors:
                                                Canby Drywall
Amcraft, Inc.                                   Rebecca
Greg White                                      PO Box 129
1015 NE Alpine Ave                              Canby, OR 97013-0129
McMinnville, OR 97128-4017                      Service to counsel by NEF
Service to counsel by ECF

CERTIFICATE OF SERVICE                                                       Page 1 of 4




                  Case 17-33893-tmb11       Doc 169    Filed 06/04/18
Ferguson Enterprises                      Parker Concrete, Inc.
Accounts Receivable                       c/o 5530 SE Center St.
Lockbox 043090 M/S 90                     Portland, OR 97206
PO Box 4300                               Per P.O.C.
Portland, OR 97208
Service to counsel by ECF                 PR Drywall
                                          Phil
Globe Lighting                            2730 SE 39th Loop Ste E
Accounts Receivable                       Hillsboro, OR 97123-8434
1919 NW 19th Ave
Portland, OR 97209-1735                   ProBuild
                                          Kelly Bryant
GM Construction, LLC                      PO Box 507
15864 Stables Pl                          McMinnville, OR 97128-0507
Oregon City, OR 97045-1385                Service to counsel by ECF
Per P.O.C.
                                          Rayborns Plumbing
Jacobs Heating & AC                       Rayborn
Tatiana Tucker                            PO Box 69
4474 SE Milwaukie Ave                     Tualatin, OR 97062-0069
Portland, OR 97202-4724
                                          Surface Works
Lambert's Plumbing Solutions              Melissa
16705 SW Sunrise Ln                       106 SE 11th Ave
McMinnville, OR 97128-8543                Portland, OR 97214-1315
Per P.O.C.                                Service to counsel by NEF

LIC Painting Inc                          Weather Roofing & Construction, Inc.
PO Box 501                                Rigoberto Fernandez
Gervais, OR 97026-0501                    4093 Hayesville Dr NE
Per P.O.C.                                Salem, OR 97305-2304

Milwaukie Lumber                          Secured Lenders:
Ann Berry
13113 NE Fourth Plain Blvd                LoanMe
Vancouver, WA 98682-4934                  National Registered Agents, Inc.
Service to counsel by ECF                 780 Commercial St SE Ste 100
                                          Salem OR 97301


                                          Knight Capital Funding III, LLC
Nice Electric                             Amanda Barton, In-house Counsel
PO Box 636                                1691 Michigan Ave., Suite 230
McMinnville, OR 97128-0636                Miami Beach, FL 33139-2566
Per P.O.C.                                Per P.O.C.

Northwest Door & Supply                   Swift Capital
c/o Thomas K. Wolf, LLC                   Sergio I. Scuteri, Shareholder
Attn: Thomas K. Wolf                      PO Box 5016
5200 SW Meadows Rd., Suite 150            Mount Laurel, NJ 08054-5016
Lake Oswego, OR 97035                     Service to counsel by NEF

CERTIFICATE OF SERVICE                                                Page 2 of 4




                  Case 17-33893-tmb11   Doc 169   Filed 06/04/18
FC Marketplace, LLC
c/o Becket and Lee LLP
P.O. Box 3002
Malvern, PA 19355-0701
Per P.O.C.




I hereby certify that on June 4, 2018, I determined from the United States Bankruptcy
Court electronic case filing system that the following parties will be served
electronically via ECF:
      Counsel for Kristie Neumayer: MATTHEW A ARBAUGH matt@arbaugh-law.com

Local Counsel for Debtor: KEITH Y BOYD ecf@boydlegal.net, arnold@boydlegal.net

Counsel for Amcraft, Inc.: MARK B COMSTOCK mcomstock@ghrlawyers.com,

tbrinlee@ghrlawyers.com

Counsel for ProBuild: WILLIAM A DREW billd@eoplaw.com

Counsel for Surface Works, LLC: EDWARD L. FERRERO ed@ferreropc.com

Counsel for Debtor: Steven R Fox emails@foxlaw.com

Counsel for Canby Drywall, Inc.: DOUGLAS L GALLAGHER doug@dglawoffice.com,

douglasgallagherlawoffice@gmail.com

Counsel for Ferguson Enterprises, Inc.: LAURIE R HAGER lhager@sussmanshank.com,

ecf.laurie.hager@sussmanshank.com

Counsel for Sue Chen: NICHOLAS J HENDERSON nhenderson@portlaw.com,

csturgeon@portlaw.com; tsexton@portlaw.com; atrauman@portlaw.com

Counsel   for   Swift   Financial   Corp.:JAMES   P   LAURICK   jlaurick@kilmerlaw.com,

tparcell@kilmerlaw.com




CERTIFICATE OF SERVICE                                                    Page 3 of 4




                   Case 17-33893-tmb11      Doc 169    Filed 06/04/18
Counsel    for   Douglas     and   Elaine    LeGrady:     HOWARD    M     LEVINE

hlevine@sussmanshank.com,                   jhume@sussmanshank.com,

ecf.howard.levine@sussmanshank.com

Counsel for U.S. Trustee: CARLA GOWEN MCCLURG carla.mcclurg@usdoj.gov

Counsel for Milwaukie Lumber Company: CRAIG G RUSSILLO crussillo@schwabe.com,

lschauer@schwabe.com;         docket@schwabe.com;         ecfpdx@schwabe.com;

bankruptcynotices@schwabe.com; gvance@schwabe.com

U.S. Trustee: US Trustee, Portland USTPRegion18.PL.ECF@usdoj.gov

Dated: June 4, 2018                         THE FOX LAW CORPORATION



                                            By__/s/ Sandy Cuevas_______
                                              Sandy Cuevas,
                                              Legal Assistant




CERTIFICATE OF SERVICE                                              Page 4 of 4




                 Case 17-33893-tmb11     Doc 169   Filed 06/04/18
The FOX LAW CORPORATION
Steven R. Fox, California SBN 138808
srfox@foxlaw.com
17835 Ventura Blvd., Suite 306
Encino, CA 91316
(818) 774-3545; FAX (818) 774-3707


THE LAW OFFICES OF KEITH Y. BOYD
Keith Y. Boyd, OSB #760701
keith@boydlegal.net
724 S. Central Ave., Suite 106
Medford, OR 97501
(541) 973-2422; FAX (541) 973-2426

          Of Attorneys for Debtor in Possession



                         UNITED STATES BANKRUPTCY COURT

                            FOR THE DISTRICT OF OREGON

 In re:                                       Case No. 17-33893-tmb11

 Creekside Homes, Inc.,                       DECLARATION OF KEITH BOYD IN
                                              CONNECTION WITH DEBTOR’S PLAN
                        Debtor.               CONFIRMATION MEMORANDUM
                                              FOR CONFIRMATION HEARING AND
                                              REQUEST THAT THE COURT APPROVE
                                              NON-MATERIAL MODIFICATION


I, Keith Y. Boyd, declare as follows:

1.        I am one of the counsel of record for the Debtor-in-Possession, Creekside

          Homes, Inc. My business address is The Law Offices of Keith Y. Boyd, 724 S.

          Central Ave., Suite 106, Medford, OR 97501. I am admitted to practice

          before the Courts of the State of Oregon and before the District Court for the


Declaration of Keith Boyd In Connection With Debtor’s Plan
Confirmation Memorandum For Confirmation Hearing And
Request That The Court Approve Non-Material Modification                    Page 1 of 2




                     Case 17-33893-tmb11     Doc 169    Filed 06/04/18
      District of Oregon.

2.    My statements here are within my personal knowledge and if called to testify

      concerning the contents of my declaration, I could and would do so

      competently.

3.    On Monday, June 4, 2018, I inspected the electronic banking records for my law firm

      and I confirmed that the sum of $114,656.25 had been deposited to my firm’s client

      trust account for the benefit of Sarah and Andrew Burton.



      Executed on June 4, 2018.

      I declare under the penalty of perjury and under the laws of the U.S. of America

that the foregoing is true and correct.

                                               __/s/ Keith Y. Boyd______________
                                                     Keith Y. Boyd




Declaration of Keith Boyd In Connection With Debtor’s Plan
Confirmation Memorandum For Confirmation Hearing And
Request That The Court Approve Non-Material Modification                    Page 2 of 2




                  Case 17-33893-tmb11      Doc 169     Filed 06/04/18
THE FOX LAW CORPORATION, INC.
Steven R. Fox, California SBN 138808
srfox@foxlaw.com
17835 Ventura Blvd., Suite 306
Encino, CA 91316
(818) 774-3545; FAX (818) 774-3707


THE LAW OFFICES OF KEITH Y. BOYD
Keith Y. Boyd, OSB #760701
keith@boydlegal.net
724 S. Central Ave., Suite 106
Medford, OR 97501
(541) 973-2422; FAX (541) 973-2426

          Of Attorneys for Debtor in Possession



                         UNITED STATES BANKRUPTCY COURT

                            FOR THE DISTRICT OF OREGON

 In re:                                      Case No. 17-33893-tmb11

 Creekside Homes, Inc.,                      DECLARATION OF ANDREW BURTON
                                             IN SUPPORT OF DEBTOR’S PLAN
                       Debtor.               CONFIRMATION MEMORANDUM
                                             FOR CONFIRMATION HEARING AND
                                             REQUEST THAT THE COURT APPROVE
                                             NON-MATERIAL MODIFICATION


I, Andrew Burton, declare as follows:

1.        I am the president and, with my wife Sarah Burton, I am the sole shareholder

          of Creekside Homes, Inc. I am its founder. My business address is 219 N.E.

          Highway 99 West, McMinnville, Oregon 97128. My statements here are based

          on my personal knowledge and if called to testify concerning the contents of


Declaration of Andrew Burton In Support Of Debtor’s Plan Confirmation
Memorandum For Confirmation Hearing And Request That The Court
Approve Non-Material Modification                                         Page 1 of 9




                     Case 17-33893-tmb11    Doc 169   Filed 06/04/18
      my declaration, I could and would do so competently.

                                          I.

               AUTHENTICATION AND PERSONAL KNOWLEDGE.

2.    I am the Debtor’s President.      I founded the Debtor in 2003 and later

      incorporated the company.

3.    My roles with the Debtor include the following:

      •      I oversee office administration.

      •      I overseeing the creation and maintenance of the Debtor’s financial

             books and records.

      •      I oversee marketing and incoming calls for work.

      •      I oversee human resources.

      •      I oversee customer and public relations.

      •      I oversee marketing strategies and direction for the company.

      •      While I have an oversight role as to ongoing projects, they are directly

             overseen by employees Isaac Mitchell and James Elliott.

      •      I prepare the estimates for jobs (whether remodels or new homes) with

             help from others.

4.    I am one of the custodians of the Debtor’s books, records, and documents.

      The Debtor maintains records of its transactions in the regular course of

      business, and it is the Debtor’s practice and procedure to maintain records and

      to record transactions, acts, and events at or about the time the transaction

      occurs. The Debtor relies on these records in connection with its business


Declaration of Andrew Burton In Support Of Debtor’s Plan Confirmation
Memorandum For Confirmation Hearing And Request That The Court
Approve Non-Material Modification                                        Page 2 of 9




                  Case 17-33893-tmb11     Doc 169    Filed 06/04/18
      dealings.

5.    I oversee the safekeeping of business records including financial records. The

      Debtor has business records primarily as computer files. If a business record

      is maintained on a computer, there are safety features which help to keep

      business records secure. For example, access to many records is limited for

      most employees. Financial records as one example can only be accessed if

      one has the necessary password. Only management level personnel have a

      necessary password. Other employees do not.

6.    The computer is linked to a server. The server backs up the data stored on the

      computer. The server computer and attachments are maintained in a secured

      location and has an uninterruptible power supply.

7.    I have personal knowledge of the procedures for creating, receiving,

      maintaining, storing and retrieving documents and records. The Debtor’s

      business records are received, maintained, stored and retrieved in the ordinary

      course of the company’s course of business. It is the ordinary course of the

      business to receive, maintain, store and retrieve records including any business

      records attached as exhibits discussed below. People with knowledge of the

      records and any exhibits contained below recorded or made these exhibits

      discussed below. The records were recorded at or near the time of their receipt

      or creation in the ordinary course of business.

8.    In my declaration, I discuss various exhibits. As to each of them, I either

      prepared them, someone else prepared them but I inspected them or they were


Declaration of Andrew Burton In Support Of Debtor’s Plan Confirmation
Memorandum For Confirmation Hearing And Request That The Court
Approve Non-Material Modification                                         Page 3 of 9




                  Case 17-33893-tmb11     Doc 169    Filed 06/04/18
      obtained or prepared based on records which I oversee. They are true and

      correct copies of what they appear to be.

                                         II.

                         Plan Confirmation Requirements.

9.    Classification of Unsecured Claims. Certain creditors have asserted claims

      against my wife, Sarah Burton, and me in addition to asserting claims against

      the Debtor. These creditors are Knight Capital and Swift Financial. I also

      believe that Sarah and I signed guaranties with LoanMe and we may have

      liability to LoanMe as well. Knight sued my wife and me and obtained a

      judgment against us in Florida. Swift obtained an award from an arbitrator on

      account of a guaranty. I do not believe that other unsecured creditors, beside

      the ones named here, have a legal right to sue Sarah or me.

10.   Good Faith. I understand that good faith in proposing a plan refers to a

      reasonable likelihood that a plan will accomplish two objectives of the

      Bankruptcy Code, to encourage companies to restructure their debt and to

      preserve companies as ongoing businesses instead of liquidating them.

11.   Based on this understanding, I believe that good faith has been shown in

      various ways including the following:

      •      Unsecured creditors are being paid a significant dividend.

      •      Classes 1 (Funding Circle), 2 (small general unsecured claims) and 3

             (general unsecured creditors) voted to accept the Plan.

      •      Class 4 contains three members. Knight and LoanMe voted to accept

             the Plan. Swift did not. Close to 2/3 in dollar amount voted to accept

Declaration of Andrew Burton In Support Of Debtor’s Plan Confirmation
Memorandum For Confirmation Hearing And Request That The Court
Approve Non-Material Modification                                         Page 4 of 9



                  Case 17-33893-tmb11     Doc 169    Filed 06/04/18
             the Plan.

      •      The Plan preserves the property of the estate as one economic unit and

             does not propose a liquidation.

12.   Liquidation. The Disclosure Statement contains a liquidation analysis. I believe

      that its facts are correct. In the event that the Debtor was liquidated, and after

      payment of Funding Circle’s first position secured claim, there would be no

      money available for creditors such as Swift. The liquidation analysis value

      $72,753 (in the Disclosure Statement at Exhibit “B”) vs. the amount which

      Funding Circle is owed $77,706.57.

13.   Feasibility. The Debtor’s prepetition history showed considerable financial

      losses. Those losses decreased early in the case and the past several months

      have shown positive cash flow and accrued profit.

      Attached as exhibits to the “Plan Confirmation Memorandum” are true and

correct copies of the following reports:

 Exhibit “I”: An accrual based P&L          Exhibit “N”: A work in progress report.
 Statement.
 Exhibit “J”: A cash based P&L              Exhibit “O”: A bid log.
 Statement.
 Exhibit “K”: A payables report.            Exhibit “P”: Actual to budget report.
 Exhibit “L”: A receivables report.         Exhibit “Q” Closing Statement on
                                            duplex unit and wire instructions from
                                            Andrew Burton to Boyd Law Offices
 Exhibit “M”: A balance sheet.


14.   The exhibits reflect (1) continued work at appropriate margins, (2) continued



Declaration of Andrew Burton In Support Of Debtor’s Plan Confirmation
Memorandum For Confirmation Hearing And Request That The Court
Approve Non-Material Modification                                          Page 5 of 9



                  Case 17-33893-tmb11      Doc 169    Filed 06/04/18
      bidding for new work, (3) the Debtor incurring losses early in the case but since

      then showing consistent progress and positive net cash flow and (4) the new

      value contribution of $65,000 in Mr. Boyd’s account. The actual to budget

      report reflects that though the Debtor did not enjoy the projected gross

      revenues, the Debtor cuts its COGS and expenses sufficiently that the Debtor’s

      net income closely matched the projected net income.

15.   The Debtor is current in making quarterly payments to the U.S. Trustee.

16.   New Value. My wife and I propose to infuse $65,000 to retain our interest in

      the Debtor. These monies will pay administrative expenses. Without the new

      value contribution, the Debtor would be unable to meet its obligations, pay

      administrative claims and pay other Plan obligations.

17.   The $65,000 comes from the sale of real property which my wife and I sold.

      The monies are in Mr. Boyd’s account and can be used. The contribution is

      substantial compared to the amount of unsecured claims in this case.

      •      Reconciled claims in Class 3 amount to $1,029,797;

      •      Reconciled claims in Class 4 amount to $288,791;

      •      Total of Class 3 and 4: $1,318,588. (Disclosure Statement, Exhibit “E”)

      •      The new value contribution is just under 5% of total unsecured claims.

18.   The $65,000 will enhance feasibility of the Plan by paying administrative claims

      and professionals. This makes it more likely the general unsecured creditors

      will be paid.

19.   This Debtor is a small closely held corporation whose future depends on my

      efforts. I founded the company and have operated it since then. In my

Declaration of Andrew Burton In Support Of Debtor’s Plan Confirmation
Memorandum For Confirmation Hearing And Request That The Court
Approve Non-Material Modification                                          Page 6 of 9



                  Case 17-33893-tmb11     Doc 169    Filed 06/04/18
      experience, no one would want to purchase the company from me because its

      value relies on me being able to work hard for five years to pay plan payments.

20.    The value of the assets on hand at liquidation is $72,753 (Disclosure

      Statement at Exhibit “B”). The new value contribution, $65,000 is roughly

      equivalent to the value of the Debtor’s assets at liquidation.

21.   Sue Chen’s Objection. Ms. Chen hired the Debtor to build a custom home.

      She let her insurance lapse. A fire occurred causing major damage. The

      Debtor cut its prices and did its best to assist her. These steps cost the Debtor

      dearly and her fire was one of the precipitating causes of this chapter 11 case.

22.   Swift Financial’s Objection. The value of the Debtor’s assets at liquidation

      would be insufficient for Swift’s security interest to attach. (Liquidation analysis

      value $72,753 (Disclosure Statement, Exhibit “B”) - amount of senior lender’s,

      Funding Circle, claim $77,706.57.)

23.   On a going concern basis, the Debtor’s value is what a purchaser with

      knowledge of the facts would pay for the Debtor. The relevant facts are the

      following:

      •      I founded the Debtor, bring in the work, oversee marketing and prepare

             job estimates with help from others.

      •      The Debtor will pay all projected disposable income into its Plan.

      •      The Debtor’s hard assets have relatively little value other than monies

             ($15,822), receivables ($22,746) and one vehicle ($25,500).

      4.     The one considerable asset listed in the Debtor’s Schedule B is the value

             in work in progress - if completed. Work in progress has value only if

Declaration of Andrew Burton In Support Of Debtor’s Plan Confirmation
Memorandum For Confirmation Hearing And Request That The Court
Approve Non-Material Modification                                            Page 7 of 9



                   Case 17-33893-tmb11      Doc 169    Filed 06/04/18
               the work is done. All of the net income is projected to go to creditors.

24.   It is an easy conclusion that a purchaser would at most pay the liquidation

      value of the assets. No reasonable purchaser will purchase a business which

      is projected to generate no net income (for the purchaser) for a period of 5

      years.

25.   The Temporary Injunction. I understand that Funding Circle, Knight and

      LoanMe, voted to accept the Plan and willingly agreed to the issuance of the

      temporary injunction. Swift voted to reject the Plan and objects to the temporary

      injunction.

26.   I understand that there is a test the Court will use to decide whether to issue the

      injunction. I do not claim to know what the test is. I will offer some facts.

27.   My wife and I are the Debtor's principals. We are a young couple with young

      children. Our assets include (1) the stock in the Debtor, (2) raw land with

      equity of $70,000, (3) one half of a duplex with perhaps $150,000 in equity

      before the homestead exemption. These assets will appreciate and become

      more valuable during the five year Plan term. We lack retirement savings and

      other substantial assets. The income from the Debtor is barely sufficient to pay

      our bills and we lack the money to defend against Swift and other creditors.

28.   Our financial future is tied to the Debtor’s success. Our income is consumed

      by our monthly bills and expenses.

29.   I am the essential person with the Debtor.          I oversee all administrative

      functions, I am the face of the company to the world, I handle all sales,

      marketing and I do the estimating. A creditor could take a judgment, against

Declaration of Andrew Burton In Support Of Debtor’s Plan Confirmation
Memorandum For Confirmation Hearing And Request That The Court
Approve Non-Material Modification                                           Page 8 of 9


                    Case 17-33893-tmb11     Doc 169    Filed 06/04/18
      my wife and I and foreclose on the stock in the Debtor. The creditor could also

      garnish our wages leaving us less incentive to work. Foreclosing on our two

      remaining properties could prompt us to leave the Debtor as we would need

      to find new housing and we would need to put our children first. We would be

      better off being employees.

30.   No one at the Debtor has my abilities or drive to manage the business

      operation I am essential to the successful implementation of the Debtor's

      proposed Plan.

31.   Swift and Knight have pursued their interests in the chapter 11 case and in the

      state court actions, both before and after the chapter 11 case began.

32.   The Debtor is now cash flow positive. The projections of future income and

      expenses are based on the Debtor's post-petition performance and are likely

      to be met. At liquidation, the unsecured creditors would receive nothing.

33.   If no injunction issues and a creditor holding a claim against us pursues us,

      then there would be a substantial threat to the Debtor's ability to make plan

      payments and to reorganize as we would need to protect our children.

34.   Though a creditor may be delayed in collections, the properties will appreciate

      in value and I will be growing the business. I also understand that in the event

      of a default, a creditor can ask the Court to modify the temporary injunction.

      Executed on June 4, 2018.

      I declare under the penalty of perjury and under the laws of the U.S. of America

that the foregoing is true and correct.

                                             _____/s/ Andrew Burton____
                                                   Andrew Burton


Declaration of Andrew Burton In Support Of Debtor’s Plan Confirmation
Memorandum For Confirmation Hearing And Request That The Court
Approve Non-Material Modification                                         Page 9 of 9
                   Case 17-33893-tmb11 Doc 169 Filed 06/04/18
